    Case 1:19-cv-09236-KPF         Document 557   Filed 07/12/24   Page 1 of 118




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK



In re Tether and Bitfinex Crypto Asset        Case No. 19 Civ. 9236 (KPF)
Litigation
                                              JURY TRIAL DEMANDED




       SECOND AMENDED CONSOLIDATED CLASS ACTION COMPLAINT
            Case 1:19-cv-09236-KPF                             Document 557                   Filed 07/12/24                  Page 2 of 118




I.         INTRODUCTION ............................................................................................................................. 4
II.        PARTIES .......................................................................................................................................... 10
      A.      PLAINTIFFS..................................................................................................................................... 10
      B.      DEFENDANTS.................................................................................................................................. 12
           1.   DigFinex .................................................................................................................................... 12
           2.   The Bitfinex Defendants ........................................................................................................... 13
           3.   The Tether Defendants ............................................................................................................. 13
           4.   The Individual Defendants ...................................................................................................... 14
III. JURISDICTION AND VENUE..................................................................................................... 15
IV.             FACTUAL ALLEGATIONS ...................................................................................................... 16
      A.   CRYPTO-ASSETS AND THE CRYPTOCOMMODITY MARKET ............................................................... 16
           1. Bitcoin: The First Crypto-Asset ................................................................................................ 16
           2. The Diversification of Crypto-Assets ....................................................................................... 19
           3. The Cryptocommodity Market ................................................................................................. 21
           4. How Crypto-Assets Are Transferred and Exchanged ............................................................. 30
      B. DEFENDANTS MANIPULATE CRYPTOCOMMODITY PRICES .............................................................. 32
        1.    Defendants Operate Bitfinex, a Crypto-Exchange .................................................................. 32
        2.    Defendants Create Tether—and USDT—To Support Bitfinex .............................................. 34
      C. DEFENDANTS DEBASED USDT ...................................................................................................... 41
        1.    2017: Tether Issues USDT to Bitfinex in Exchange for IOUs ................................................ 45
        2.    2018-19: Tether Issues More USDT to Bitfinex In Exchange For IOUs and Loans Bitfinex
        its U.S. Dollar Reserves .................................................................................................................... 54
        3.    Investigations By The New York Attorney General and the U.S. Commodity Futures
        Trading Commission Confirm USDT Was Debased ....................................................................... 62
      D. THE ANONYMOUS TRADER’S BOT TRADED VAST AMOUNTS OF DEBASED USDT FOR
      CRYPTOCOMMODITIES ............................................................................................................................. 64
        1.    The Anonymous Trader Developed an Automated Trading Bot ............................................ 65
        2.    B/T Defendants Knew About the Anonymous Trader’s Cross-Exchange Arbitrage Bot Well
        Before the Class Period Began. ......................................................................................................... 66
        3.    The Anonymous Trader’s Bot Traded Vast Amounts of Debased USDT For
        Cryptocommodities ............................................................................................................................ 68
        4.    Due To A Persistent Price Premium On Bitfinex, The Anonymous Trader’s Trades Resulted
        In More Sales of Bitcoin On Bitfinex and More Purchases of Bitcoin on Other Exchanges ......... 69
      E. DEFENDANTS FACILITATED THE ANONYMOUS TRADER’S TRADING ............................................... 74
        1.    Defendants Gave the Anonymous Trader Vast Quantities of USDT ..................................... 74
        2.    Defendants Were Aware of and Facilitated the Bitfinex Price Premium .............................. 77
        3.    Defendants Helped the Anonymous Trader’s Bot Trade Large Volumes .............................. 80
      F. DEBASED USDT TRADED FOR CRYPTOCOMMODITIES ARTIFICIALLY INFLATED
      CRYPTOCOMMODITY PRICES—AND DEFENDANTS KNEW IT................................................................... 83
        1.    Debased USDT funded Massive Crypto-Asset Purchases on Bittrex and Poloniex .............. 85



      G.        DEFENDANTS PROFITED FROM THEIR SCHEME ........................................................................... 105
V.         CLASS ALLEGATIONS............................................................................................................... 107
CAUSES OF ACTION ........................................................................................................................... 110
FIRST CAUSE OF ACTION ................................................................................................................ 110




                                                                                2
        Case 1:19-cv-09236-KPF                            Document 557                   Filed 07/12/24                Page 3 of 118



SECOND CAUSE OF ACTION ........................................................................................................... 113
THIRD CAUSE OF ACTION ............................................................................................................... 115
COSTS, INTEREST, AND ATTORNEYS’ FEES ............................................................................. 118
JURY TRIAL .......................................................................................................................................... 118




                                                                           3
      Case 1:19-cv-09236-KPF          Document 557         Filed 07/12/24      Page 4 of 118




        Matthew Script, Benjamin Leibowitz, Jason Leibowitz, and Pinchas Goldshtein (together,

“Plaintiffs”), individually and on behalf of all others similarly situated, bring this action against

iFinex Inc., BFXNA Inc., BFXWW Inc., Tether Holdings Limited, Tether Operations Limited,

Tether Limited, Tether International Limited, DigFinex Inc., Philip G. Potter, Giancarlo Devasini,

Ludovicus Jan van der Velde (together, “Defendants”), and allege as follows:

I.      Introduction

        1.      From March 31, 2017 to February 25, 2019 (the “Class Period”), Defendants fraud-

ulently inflated the price of cryptocommodities, a class of crypto-assets that includes bitcoin, by

billions of dollars.

        2.      Through their Tether entities, Defendants issued USDT, a crypto-asset known as a

“stablecoin” because it supposedly maintained a stable value of one U.S. dollar for each USDT.

Defendants told the public that USDT was backed one-for-one by U.S. dollars that Tether held in

its reserves in its bank account, and that holders could exchange their USDT for those dollars

anytime they wished.

        3.      This was not true. During the Class Period, Tether often held fewer U.S. dollars in

its bank accounts than the number of USDT that it had issued. In reality, Tether often issued USDT

with no U.S. dollars backing—in exchange for an IOU from Defendants’ crypto-exchange Bit-

finex. Because the same principals controlled Bitfinex and Tether, Tether could simply transfer

newly issued USDT into an account on Bitfinex without receiving U.S. dollars in exchange, as

would have been required for any other customer. These IOUs, which Tether accounted for as

“receivables,” were not U.S. dollars; they were promises to pay, meaning there were not enough

dollars in reserve to back each issued USDT, creating a redeemability risk that USDT was not

supposed to have.




                                                 4
     Case 1:19-cv-09236-KPF          Document 557        Filed 07/12/24      Page 5 of 118




       4.      Bitfinex also did not have sufficient U.S. dollars, net of customer funds, to cover

these “receivables,” compounding this risk. Bitfinex commingled all its U.S. dollars in “omnibus”

accounts, which included Bitfinex’s customer deposits, its operating funds, and dollars received

from individuals purchasing USDT. This commingling of its U.S. dollars increased the risk that

Bitfinex would not have sufficient U.S dollars to send to Tether in the event that Tether received

a large number of USDT redemption requests, especially if those redemption requests occurred at

when Bitfinex’s customers were withdrawing U.S. dollars from their trading accounts on Bitfinex.

Tether’s internal records show that, on multiple occasions during the Class Period, its shareholder

equity—its total assets minus all issued USDT—was negative. Instead of being fully backed by

U.S. dollars, USDT was repeatedly debased. The more USDT that Tether issued to Bitfinex, the

more debased each USDT became.

       5.      Defendants concealed this debasement. Believing that USDT was backed one-for-

one by U.S. dollars, the market interpreted purchases of cryptocommodities made with USDT as

reflecting genuine demand of the equivalent number of U.S. dollars for cryptocommodities. Had

the market known that USDT was debased, it would have understood the purchase of cryptocom-

modities as reflecting lower demand, resulting in lower cryptocommodity prices. By concealing

USDT’s debasement and manipulating the supply of USDT, Defendants ensured that any purchase

of cryptocommodities made with USDT would artificially inflate the prices of those assets.

       6.      Defendants engaged in a sophisticated scheme to artificially inflate the price of

cryptocommodities by pushing USDT into the market that was not fully backed by U.S. dollars,

creating the illusion of increased demand for cryptocommodities, facilitating trading of crypto-

commodities on credit and loaned funds, and thus driving up cryptocommodity prices. Defendants

benefited from this scheme in several ways, not least by preserving the larger cryptocommodity




                                                5
        Case 1:19-cv-09236-KPF       Document 557        Filed 07/12/24     Page 6 of 118




economy on which their business models depended, and by artificially preserving the value of their

cryptocommodity holdings.

         7.    In the normal course, customers who purchased USDT from either Tether or Bit-

finex did so by exchanging one U.S. dollar for one USDT. If a customer did not provide a dollar,

then, according to Tether’s representations, Tether or Bitfinex did not provide a USDT. But be-

cause the same people controlled Tether and Bitfinex, Tether could and did send newly issued

USDT to Bitfinex addresses that Tether and Bitfinex controlled for nothing. The market believed

those new USDT were paid for with, and were fully backed by, U.S. dollars.

         8.    Defendants used the Bitfinex exchange to push debased USDT into the market.

During the Class Period, Defendants provided               USDT to an individual who used pro-

prietary, automated arbitrage-trading software (a “bot”)—the Anonymous Trader. Defendants pro-

vided              USDT to       bot, sending most of this amount (               USDT between

March 31, 2017 and December 31, 2017) during a period of extraordinary increase in the price of

bitcoin and other cryptocommodities. Accounting for the USDT that the bot sent back to Bitfinex,

it received             USDT during this period, over         of all newly issued USDT on a net

basis. The bot engaged in cross-exchange arbitrage using USDT. When exchanges listed different

prices for the same crypto-asset, it bought the asset on the lower-priced exchange and simultane-

ously sold it on the higher-priced exchange. The bot was automatic: Once it detected an arbitrage

opportunity, it ordered the trades without any further human involvement.

         9.    During the Class Period, bitcoin persistently traded at a higher price on Bitfinex

than it did on other crypto-asset exchanges. The Anonymous Trader’s bot thus sold more bitcoin

on Bitfinex and bought more bitcoin with USDT on other exchanges. During the Class Period,

Bitfinex treated USDT deposited to accounts on its exchange as U.S. dollars and allowed




                                                6
     Case 1:19-cv-09236-KPF            Document 557        Filed 07/12/24      Page 7 of 118




customers to withdraw U.S. dollars from their accounts as USDT. The bot sold                    more

worth of bitcoin on Bitfinex than buying on Bitfinex and selling elsewhere. Since the bot used

USDT in these transactions, the net direction of its trades—i.e., the net sales of bitcoin on Bitfinex

and the net purchases of bitcoin on other exchanges, predominantly Poloniex and Bittrex, with

USDT—had the effect of pumping debased USDT out of Bitfinex and into the broader crypto-

asset market.

       10.      Defendants used debased USDT to facilitate the bot’s arbitrage. They provided the

bot with debased USDT, activating it to buy bitcoin and other cryptocommodities with USDT on

other exchanges. Defendants kept Bitfinex’s “hot wallet,” from which customers withdrew assets,

stocked with USDT. When the USDT in the hot wallet ran low, as it often did, Defendants either

transferred USDT from Bitfinex’s “cold wallet” or had Tether issue new USDT to Bitfinex’s hot

wallet. These processes were not automatic; they required affirmative approvals by Defendants.

Defendants provided the Anonymous Trader’s account (as well as the accounts of other Bitfinex

customers, Bitfinex’s proprietary trading accounts, and the accounts of Defendants’ principals)

with credit lines and access to margin trading, funded at least in part by USDT recorded as “assets”

in Bitfinex’s commingled “omnibus” accounts.

       11.      By issuing debased USDT, as well as by providing credit lines and margin trading

on Bitfinex backed in part by debased USDT commingled with its other assets, Defendants facili-

tated a price premium for bitcoin on Bitfinex versus other crypto-asset exchanges like Poloniex

and Bittrex. That price premium, in turn, predictably triggered the bot to consistently sell bitcoin

on Bitfinex during the Class Period. Defendants allowed Bitfinex customers to trade on margin

with collateral as low as 15%, encouraging them to conduct more trades than they otherwise would

have. Defendants also extended credit to their biggest customers, further encouraging additional




                                                  7
     Case 1:19-cv-09236-KPF           Document 557         Filed 07/12/24       Page 8 of 118




trades. By essentially acting as a fractional-reserve bank, Bitfinex increased liquidity on its ex-

change, encouraging more trades there, increasing demand for bitcoin, thus increasing bitcoin

prices. Defendants also failed to maintain sufficient assets to back the credit they extended, creat-

ing false demand by allowing customers to trade with assets that did not exist. This further in-

creased bitcoin prices on Bitfinex.

       12.     Defendants also helped the Anonymous Trader trade large volumes. They gave the

Anonymous Trader

       , allowing the Anonymous Trader to trade faster. Defendants



                                                                                                . De-

fendants

                           . And Defendants extended the Anonymous Trader a credit line, for free,

allowing     bot to trade more assets than reflected in    Bitfinex accounts.

       13.     The Anonymous Trader’s bot’s trades inflated bitcoin prices during the Class Pe-

riod. By trading debased USDT for bitcoin and other crypto assets on other exchanges, the bot sent

an artificial signal about the level of demand for bitcoin, inflating bitcoin prices on those ex-

changes. Because the market believed USDT was fully backed by U.S. dollars, it perceived these

purchases as investment of the equivalent of fiat currency in those cryptocommodities, reflecting

genuine customer demand at those prices. This perceived increase in demand for cryptocommod-

ities, and the resulting increase in prices, naturally attracted more purchases from other investors

and further raised cryptocommodity prices. This benefitted Defendants by rapidly expanding the

volume of trades on their exchange, inflating cryptocommodity prices, and pushing more USDT




                                                 8
     Case 1:19-cv-09236-KPF           Document 557        Filed 07/12/24      Page 9 of 118




out to other exchanges, encouraging its use as the crypto economy’s dominant U.S. dollar-pegged

stablecoin.

       14.     Defendants knew, contributed to, and benefitted from this scheme.

       15.     Defendants were a direct cause of the Anonymous Trader’s trades of USDT for

bitcoin. They controlled the supply of USDT. If they had not regularly supplied debased USDT to

Bitfinex’s hot wallet, the Anonymous Trader’s bot could not have withdrawn it and traded with it.

When Defendants did supply USDT to Bitfinex’s hot wallet, the bot’s trades were inevitable—the

bot would automatically withdraw the USDT and use it to trade for bitcoin on other exchanges,

inflating the prices of those assets. Defendants also facilitated the creation of the Bitfinex price

premium, which enabled the bot to buy more bitcoin with USDT on other exchanges, thereby

exporting USDT from Bitfinex, and selling more bitcoin on Bitfinex.

       16.     Akin to pushing a victim in front of a moving train for which they had laid the track

and provided the engine’s fuel, Defendants are responsible for the cryptocommodity price inflation

caused by their issuance of debased USDT and the trades made with that debased USDT through

the bot developed by the Anonymous Trader.

       17.     While this scheme would be sufficient to hold Defendants liable if they acted inde-

pendently, evidence produced in discovery indicates that the Anonymous Trader was aware that

Defendants had issued debased USDT—and thus conspired with them to inflate cryptocommodity

prices. Among other things, when the Chief Financial Officer of both Tether and Bitfinex asked

the Anonymous Trader: “can you please push the [bitcoin] price above 10k again?”,           replied,

“Sure no problem, just issue me some [USDT.]”




                                                 9
      Case 1:19-cv-09236-KPF          Document 557        Filed 07/12/24     Page 10 of 118




       18.       Plaintiffs seek to redress Defendants’ misconduct during the Class Period on behalf

of the class of cryptocommodities purchasers described below under the Commodities Exchange

Act (“CEA”) and the Sherman Act.

II.    Parties

       A.        Plaintiffs

       19.       Matthew Script is a citizen of Buffalo, New York. During the Class Period, he pur-

chased cryptocommodities, the prices of which had been artificially inflated by Defendants’ mar-

ket manipulation, and as a result suffered economic losses and actual damages. For example, Mat-

thew Script made the following purchases:

                 a.     On October 24, 2017, he purchased 0.08362939 Bitcoin for $500.00.

                 b.     On October 24, 2017, he purchased 0.47647755 ether for $150.00.

                 c.     On November 29, 2017, he purchased 0.06356349 Bitcoin for $750.00.

                 d.     On November 30, 2017, he purchased 0.01013354 Bitcoin for $100.00.

                 e.     On December 10, 2017, he purchased 0.01713119 Bitcoin for $250.00.

                 f.     On December 18, 2017, he purchased 0.05150696 Bitcoin for $1,000.00.

                 g.     On January 6, 2018, he purchased 0.02986745 Bitcoin for $520.00.

       20.       Jason Leibowitz is a citizen of New York, New York. During the Class Period, he

purchased cryptocommodities, the prices of which had been artificially inflated by Defendants’

market manipulation, and as a result suffered economic losses and actual damages. For example,

Jason Leibowitz made the following purchases:

                 a.     On October 18, 2017, he purchased 2.8968181 Bitcoin for 50 Bitcoin
                        cash.

                 b.     On November 5, 2017, he purchased 16.48699964 ether for $5,000.00.

                 c.     On November 17, 2017, he purchased 20 Bitcoin cash for 2.50114287
                        Bitcoin.



                                                 10
     Case 1:19-cv-09236-KPF         Document 557        Filed 07/12/24     Page 11 of 118




               d.     On November 26, 2017, he purchased 100 ether classic for 0.22638997
                      Bitcoin.

               e.     On November 26, 2017, he purchased 10 Zcash for 0.35988776 Bitcoin.

               f.     On November 26, 2017, he purchased 8.86152055 monero for 0.15337342
                      Bitcoin.

               g.     On December 12, 2017, he purchased 154.7619048 ether for $91,000.

               h.     On January 17, 2018, he purchased 0.53495903 dash for 0.03797655
                      Bitcoin.

       21.     Benjamin Leibowitz is a citizen of New York, New York. During the Class Period,

he purchased cryptocommodities, the prices of which had been artificially inflated by Defendants’

market manipulation, and as a result suffered economic losses and actual damages. For example,

Benjamin Leibowitz made the following purchases:

               a.     On August 10, 2017, he purchased 5 ether for $1,537.82.

               b.     On August 10, 2017, he purchased 5 litecoin for $242.40.

               c.     On January 8, 2018, he purchased 1.03187263 Bitcoin for $15,000.

               d.     On January 16, 2018, he purchased 5 ether for $5,879.64.

               e.     On January 16, 2018, he purchased 25 litecoin for $5,320.44.

       22.     Pinchas Goldshtein is a citizen of Miami, Florida. During the Class Period, he pur-

chased cryptocommodities and cryptocommodity futures, the prices of which had been artificially

inflated by Defendants’ market manipulation and as a result suffered economic losses and actual

damages. For example, Pinchas Goldshtein made the following purchases and executed the fol-

lowing bitcoin futures positions:

               a.     On November 21, 2017, he purchased 0.58956003 Bitcoin for $5,000.

               b.     On November 26, 2017, he purchased 0.27038791 Bitcoin for $2,500.

               c.     On November 28, 2018, he purchased 0.63950893 Bitcoin for $6,500.

               d.     On December 7, 2017, he purchased 0.35 Bitcoin for $5,569.08.


                                               11
     Case 1:19-cv-09236-KPF            Document 557         Filed 07/12/24       Page 12 of 118




                e.      On January 16, 2018, he initiated a short position by selling 5,000 Bitcoin
                        futures contracts with a notional value of $50,000.

                f.      On February 2, 2018, he initiated a long position by purchasing 1,910
                        Bitcoin futures contracts with a notional value of $19,100.

                g.      On February 6, 2018, he initiated a long position by purchasing 1,000
                        Bitcoin futures contracts with a notional value of $10,000.

        B.      Defendants

                1.      DigFinex

        23.     DigFinex Inc. (“DigFinex”) is incorporated in, and is a citizen of, the British Virgin

Islands. 1 DigFinex operates as the ultimate parent company of the Bitfinex Defendants (defined

below) and, together with Giancarlo Devasini and Ludovicus Jan van der Velde, controls the

Tether Defendants (defined below). It is the majority owner of iFinex, Inc. and owns roughly 20%

of Tether Holdings Limited.

        24.     The shareholders of DigFinex are Ludovicus Jan van der Velde, Giancarlo

Devasini, Paolo Ardoino (“Ardoino”), 2 Philip Potter, Stuart Hoegner (“Hoegner”), 3 and Perpetual

Action Group (Asia) Inc. 4




1
 Brian M. Whitehurst Affirmation ¶ 89, ECF No. 1, James v. iFinex Inc., No. 450545/2019 (Sup. Ct. N.Y.
Cty. Apr. 25, 2019) (“Whitehurst Aff.”); Ex. K, ECF No. 16, James v. iFinex Inc., No. 450545/2019 (Sup.
Ct. N.Y. Cty. Apr. 25, 2019) (“DigFinex and iFinex Register of Directors”).
2
 Ardoino is the Chief Technology Officer of both Bitfinex, see Bitfinex Leadership – Paolo Ardoino, Chief
Technology Officer, bitfinex.com (Mar. 12, 2018), https://perma.cc/3ERS-AM6N, and Tether.
3
 Hoegner is the General Counsel of both Bitfinex, see Bitfinex Leadership – Stuart Hoegner, General
Counsel, bitfinex.com (Mar. 12, 2018), https://perma.cc/W8UA-PRF4, and Tether.
4
  ECF No. 9, iFinex Inc. v. Wells Fargo & Co., No. 3:17-CV-01882 (N.D. Cal. Apr. 5, 2017) at 1
(“Certificate of Interested Entities”).


                                                   12
           Case 1:19-cv-09236-KPF         Document 557         Filed 07/12/24      Page 13 of 118




                  2.        The Bitfinex Defendants

            25.   iFinex Inc., BFXNA Inc., and BFXWW Inc. (collectively, “Bitfinex”) together op-

erate an online platform called “Bitfinex” for exchanging and trading crypto-assets. 5

            26.   iFinex Inc. is incorporated in, and is a citizen of, the British Virgin Islands. 6 iFinex

Inc. owns and operates the online crypto-exchange called “Bitfinex” accessible at bitfinex.com. 7

It is also the holding company that wholly owns Defendants BFXNA Inc. and BFXWW Inc. 8

            27.   BFXNA Inc. is incorporated in, and is a citizen of, the British Virgin Islands. 9

            28.   BFXWW Inc. is incorporated in, and is a citizen of, the British Virgin Islands. 10

                  3.        The Tether Defendants

            29.   Tether Holdings Limited, Tether Limited, Tether Operations Limited, and Tether

International Limited (collectively, “Tether”) are the central authority over, and issuer of, USDT.

            30.   Tether Holdings Limited is incorporated in, and is a citizen of, the British Virgin

Islands. 11 It is the holding company of Defendants Tether Limited, Tether Operations Limited, and

Tether International Limited. 12




5
    Whitehurst Aff. ¶ 10.
6
    Whitehurst Aff. ¶ 7; DigFinex and iFinex Register of Directors.
7
  Terms of Service, bitfinex.com § 14.5 (July 12, 2019) (“The Site and Services are owned by iFinex.”),
https://perma.cc/4U5J-3MKY.
8
 Whitehurst Aff. ¶ 8; Stuart Hoegner Affirmation ¶ 3, ECF No. 24, James v. iFinex Inc., No. 450545/2019
(Sup. Ct. N.Y. Cty. April 30, 2019) (“Hoegner Aff.”).
9
    Hoegner Aff. ¶ 3.
10
     Id.
11
     Whitehurst Aff. ¶ 13; Hoegner Aff. ¶ 5.
12
     Id.


                                                     13
           Case 1:19-cv-09236-KPF         Document 557          Filed 07/12/24        Page 14 of 118




            31.   Tether Operations Limited is incorporated in, and is a citizen of, the British Virgin

Islands. Tether Operations Limited owns the Tether platform.

            32.   Tether International Limited is incorporated in, and is a citizen of, the British Virgin

Islands. 13

            33.   Tether Limited is incorporated in, and is a citizen of, Hong Kong. 14

                  4.      The Individual Defendants

            34.   Ludovicus Jan van der Velde (“Velde”) 15 is the Chief Executive Officer of iFinex

Inc., BFXNA Inc., BFXWW Inc., and Tether Limited. 16 He has held this position since early

2013. 17 Velde is one of two directors of DigFinex, iFinex Inc., and Tether Limited. Velde is also

a shareholder of DigFinex and Tether Holdings Limited, and is the former CEO of DigFinex share-

holder Perpetual Action Group (Asia). 18 Velde is a citizen of the Netherlands. 19

            35.   Giancarlo Devasini (“Devasini”) was involved in creating Bitfinex. He is the Chief

Financial Officer of Bitfinex and Tether. 20 Devasini is a director of DigFinex, iFinex Inc., and



13
     Tether International Limited, LEI-LOOKUP.COM, (Oct. 5, 2019) https://perma.cc/JUR6-DHZE.
14
  Tether Limited, HONG KONG REGISTRY, (Oct, 5, 2019) https://perma.cc/RDU3-9E7D. Tether Limited
also has a lapsed Legal Entity Identifier (LEI) that incorrectly identifies a different address in Taiwan as its
registered address. See Tether Limited, LEI-LOOKUP.COM, https://perma.cc/FLT7-B8L7.
15
     Velde sometimes use the aliases JL, Jan Ludovicus, and Jean-Louis.
16
  Bitfinex Leadership – Jean-Louis van der Velde, Chief Executive Officer, BITFINEX.COM (Mar. 12, 2018),
https://perma.cc/3XVL-DNQC.
17
     Id.
18
    Certificate of Interested Entities at 1; J.L. van der Velde, LINKEDIN, (June 3, 2020),
https://perma.cc/5FQW-N3GQ (identifying Velde as former CEO of Perpetual Action Group (Asia)).
19
     DigFinex and iFinex Register of Directors.
20
  Bitfinex Leadership – Giancarlo Devasini, Chief Financial Officer, BITFINEX.COM (Mar. 12,
2018), https://perma.cc/4B32-XAWZ. Devasini was also the president of Smart Property Solutions
SA, the Swiss company behind Tether’s Euro-backed stablecoin EURT. See Terms of Service,



                                                      14
        Case 1:19-cv-09236-KPF             Document 557      Filed 07/12/24     Page 15 of 118




Tether Limited. He is also a shareholder of Tether Holdings Limited and DigFinex. 21 Devasini is

a citizen of Italy. 22

           36.      In the early days of Bitfinex and Tether, Devasini posted under the username “ur-

whatuknow” on the Bitcointalk.org forum. 23

           37.      Collectively DigFinex, Devasini, and Velde own approximately 70% of Tether

Holdings Limited.

           38.      Philip G. Potter (“Potter” and, with Velde and Devasini, the “Individual Defend-

ants”) was the Chief Strategy Officer of the Bitfinex and Tether enterprises until June 2018. 24 He

also was or is a director of Tether Holdings Limited and a shareholder in DigFinex. 25 Potter is a

citizen of New York. 26

III.       Jurisdiction and Venue

           39.      This Court has original subject matter jurisdiction over Plaintiffs’ federal claims

pursuant to 28 U.S.C. §§ 1331 and 1337 and 18 U.S.C. § 1964(c).




tether.ch, https://perma.cc/E5FH-PZ6H (last updated Sept. 10, 2017); Commercial Register, SWISS
OFFICIAL GAZETTE OF COMMERCE (May 16, 2017), https://perma.cc/7LG6-QAWX.
21
     Certificate of Interested Entities.
22
     DigFinex and iFinex Register of Directors.
23
   See, e.g., urwhatuknow, Re: [Beta]Bitfinex.com First Bitcoin P2P Lending Platform for Leverage
Trading, BITCOINTALK.ORG (April 22, 2013, 11:17 PM, 11:20 PM, 11:28 PM,11:30 PM),
https://perma.cc/RTL5-GSNS. Bitcointalk.org is an internet forum dedicated to the discussion of Bitcoin
and other crypto-assets.

 Anna Irrera, Bitfinex Chief Strategy Officer Departs, REUTERS (June 22, 2018), https://perma.cc/A4Z2-
24

HDYF.
25
  Tether Holdings Limited, Offshore Leaks Database, (Oct. 6, 2019) https://perma.cc/UDT7-ACVW;
Certificate of Interested Entities.
26
  Brian M. Whitehurst Aff. Ex. N, at 2, ECF No. 95, James v. iFinex Inc., No. 450545/2019 (Sup. Ct. N.Y.
Cty. July 8, 2019) (Feb. 2018 Bank Account Application).


                                                    15
      Case 1:19-cv-09236-KPF             Document 557           Filed 07/12/24        Page 16 of 118




        40.      Venue lies in this District under 15 U.S.C. § 22, 7 U.S.C. § 25(c), 18 U.S.C. § 1965,

and 28 U.S.C. § 1391, because one or more Defendants resided, transacted business, were found,

or had agents in this District, and a substantial portion of the alleged activity affected interstate

trade and commerce in this District.

        41.      This Court has personal jurisdiction over each Defendant pursuant to N.Y. C.P.L.R.

301 and 302(a)(1)-(3), 18 U.S.C. § 1965(a)-(b), and Federal Rule of Civil Procedure 4(k). Each

Defendant transacted business, maintained substantial contacts, and/or they or their coconspirators

committed overt acts in furtherance of their illegal conspiracy in the United States, including in

this District. Bitfinex and Tether have submitted to jurisdiction in multiple states, including New

York. Defendants’ scheme was directed at, and had the intended effect of, causing injury to persons

residing in, located in, or doing business in this District.

        42.      The Court also has quasi in-rem jurisdiction over Defendants by virtue of U.S. dol-

lar accounts in New York.

IV.     Factual Allegations

        A.       Crypto-assets and the Cryptocommodity Market

                 1.      Bitcoin: The First Crypto-Asset

        43.      This case concerns crypto-assets. 27 Crypto-assets are digital assets that use a variety

of cryptographic principles to secure transactions, control the creation of additional units, and ver-

ify their transfer.




27
  The commonly used umbrella term that collectively describes the many different types of digital assets
and the many hundreds of digital tokens in circulation is “cryptocurrencies.” In order to avoid embedding
any assumptions about the nature of these assets in this umbrella term, Plaintiffs herein use the term “crypto-
assets” to describe the full range of digital assets.


                                                      16
     Case 1:19-cv-09236-KPF             Document 557          Filed 07/12/24       Page 17 of 118




          44.   Bitcoin 28 was the world’s first major crypto-asset. While the potential of a fully

digital asset had previously been recognized in theory, bitcoin’s novel architecture provided three

key traits that enabled it to succeed: It is a secure medium of exchange, it has a controlled supply,

and it is decentralized.

          45.   Secure Medium of Exchange: Bitcoin works effectively because it can be securely

transferred to exactly one person at a time. Most digital assets, like all digital files, can be easily

duplicated, potentially allowing transfer of a single asset to multiple people. The elaborate

measures used to prevent counterfeiting of physical currencies do not have effective digital ana-

logues.

          46.   Bitcoin solved this problem with a digital ledger system called the “blockchain,”

which tracks the ownership and transfer of every bitcoin in existence. Each bitcoin user has a

digital “address” used to receive bitcoin. The Bitcoin blockchain lists, publicly, every address and

the number of bitcoin associated with that address. By looking at the blockchain, anyone can see

every bitcoin transaction in which that address has engaged.

          47.   By providing a full transaction history of each bitcoin, the blockchain allows for

the secure exchange of all bitcoin. Any attempt to duplicate a bitcoin or to transfer it to multiple

people at once would be futile, because a bitcoin user could use the blockchain to verify each

transaction involving that bitcoin. There is thus no effective way to counterfeit bitcoin.

          48.   Controlled Supply: Bitcoin maintains its blockchain and provides for new bitcoin

to enter the economy through a consensus mechanism known as “mining.” Individuals “mine”

bitcoin by having sophisticated computer programs perform complex, resource-intensive



28
  The term “Bitcoin” can refer to a computer protocol or a unit of exchange. Accepted practice is to use
the term “Bitcoin” to label the protocol, software, and community, and the term “bitcoin” to label the units
of exchange.


                                                    17
     Case 1:19-cv-09236-KPF               Document 557          Filed 07/12/24        Page 18 of 118




automated verifications of past transactions, which are then added to the blockchain. Those who

mine bitcoin—“miners”—are rewarded with new bitcoin.

        49.      The mining process creates a scarcity that underlies the value of bitcoin. Bitcoin is

designed so it gets harder and harder to mine. The more bitcoin produced, the more complex and

resource-intensive the computations required for a miner to receive new bitcoin. This process en-

sures that the supply of bitcoin will not rise sharply or unpredictably, thus preventing a flood of

new bitcoin that could undercut the value of the preexisting bitcoin. Likewise, the number of

bitcoin that miners receive as a reward is halved roughly every four years. This will continue until

all bitcoin have been mined, at which point miners will receive fees paid solely by network users.

        50.      Bitcoin’s distribution system thus roughly mirrors the availability of natural re-

sources like gold or silver. While the supply of bitcoin continues to grow as more of it is mined,

the growth rate of that supply is logarithmic and will eventually cease entirely, ensuring the market

is not flooded and bitcoin is not devalued. This ensures market participants that their bitcoin will

not diminish in value due to sudden inflation. 29

        51.      Decentralized: Bitcoin’s architecture ensures that it is entirely decentralized. The

Bitcoin protocol was first released on October 31, 2008 through a white paper authored under the

pseudonym Satoshi Nakamoto. That paper detailed novel methods of using a peer-to-peer network

to generate what it described as “a system for electronic transactions without relying on trust.”30




29
  Subsequent to the invention of Bitcoin, other crypto-assets have adopted approaches other than mining
for ensuring a controlled supply. In particular, some crypto-assets now use a consensus mechanism called
“Proof of Stake,” which provides new currency to those who own the most of that currency instead of those
who expend significant electrical resources mining. This consensus mechanism shares with Bitcoin mining,
however, the core feature that there is no way for additional digital coins to be released to the market outside
of a predetermined protocol that ensures scarcity.
30
  Satoshi Nakamoto, Bitcoin: A Peer-to-Peer Electronic Cash System, DECENTRALIZED BUS. REV. 1, 8
(2008).


                                                      18
     Case 1:19-cv-09236-KPF            Document 557         Filed 07/12/24       Page 19 of 118




While the first 50 bitcoin were mined into existence by Satoshi three months after the release of

the white paper, it has since attracted a community of many competing miners who work to ensure

the decentralization of the network.

        52.     Accordingly, there is no ‘Bitcoin Inc.’ that administers or manages Bitcoin as a

whole. If Bitcoin were run on centralized servers, the underlying value of bitcoin would rely on

the trust that individuals had in those operating the centralized servers. If Bitcoin’s creator could

issue more bitcoin at a whim, the value of bitcoin would reflect that uncertainty. But because

Bitcoin’s cryptographic protocols are self-sustaining and cannot be affected by the originator, the

success of Bitcoin does not hinge on any single entity.

        53.     This decentralization distinguishes bitcoin from other assets. The value of corporate

stocks and bonds, regardless of their structure, is tied to the success of the issuing corporation. The

value of government bonds is tied to the credit of the government that issues them. The value of a

currency is tied to the issuing nation, reflecting factors like its economy, political stability, and the

practices of its central bank. None of this is true for bitcoin.

                2.      The Diversification of Crypto-Assets

        54.     Since the creation of Bitcoin, the number and types of distinct crypto-assets have

grown dramatically. In April 2013, there were only seven crypto-assets listed on coinmart-

ketcap.com, a popular website that tracks the crypto-asset markets. As of this filing, that site mon-

itors more than 2,000 crypto-assets.

        55.     The creators of different crypto-assets have decided, in many instances, to deviate

from core features of bitcoin, creating crypto-assets that work in numerous different ways and

serve numerous different purposes and markets.

        56.     Some crypto-assets are not intended to be used as a secure medium of exchange.

Basic attention token (“BAT”), for example, is a crypto-asset architecture designed to provide a


                                                   19
     Case 1:19-cv-09236-KPF           Document 557        Filed 07/12/24      Page 20 of 118




transparent solution for the digital advertising market. Released by the creators of the Brave web

browser, BAT can be used to obtain a variety of advertising and attention-based services, as it is

exchanged between publishers, advertisers, and users. The token’s utility is therefore derived from

the attention of internet users. When used in conjunction with the Brave web browser, BAT creates

a transparent and efficient block-chain based digital advertising market: publishers receive more

revenue for displaying advertisements on their websites because middlemen fees are reduced, ad-

vertisers achieve better targeting and higher returns on their advertisement budgets, and users have

greater control of how their data is used for targeted advertising.

       57.     Other crypto-assets are distributed through issuances akin to those of traditional

corporate securities and do not have a controlled supply. The crypto-asset XRP, for example, was

not mined but instead was created and sold to customers by an entity called Ripple. Similarly,

several crypto-assets known as ERC-20 tokens have been issued in Initial Coin Offerings

(“ICOs”). In these ICOs, digital tokens are created and sold to the public, deriving their value from

the promises of the issuers. The issuers of an ERC-20 token known as TaTaTu, for example, prom-

ised to use the money raised through an ICO to create a video streaming platform, on which Ta-

TaTu tokens could be used to pay for membership. Similarly, Sirin Labs created an ERC-20 token,

SRN, that it sold with the promise of using that revenue to create a secure phone using blockchain

technology.

       58.     Some crypto-assets are not decentralized. ERC-20 tokens, for example, do not have

an independent blockchain unique to that digital asset. Other crypto-assets can be used on only

one platform. BinanceCoin, for example, is usable exclusively on the crypto-exchange Binance;

hence its value depends on the continued vitality of that platform.




                                                 20
     Case 1:19-cv-09236-KPF             Document 557          Filed 07/12/24       Page 21 of 118




        59.     These are only some of the many varieties of crypto-assets that have arisen since

the creation of Bitcoin. Deviations from the Bitcoin model have led to different markets for dif-

ferent crypto-assets suited for different uses by different types of customers.

                3.      The Cryptocommodity Market

        60.     Some crypto-assets reproduce Bitcoin’s defining central architecture—they pro-

vide a secure medium of exchange for general purposes, have a controlled supply that cannot be

unilaterally increased, and are decentralized. These crypto-assets are called “cryptocommodities.”

Cryptocommodities, which include bitcoin, make up a distinct market, which has grown substan-

tially and, as of this filing, has a total market capitalization of over $800 billion.

        61.     Demand for cryptocommodities is driven by the desire for a cryptographically se-

cure and pseudonymous means of exchange in digital transactions for a wide variety of assets,

independent of the control of any government, which can also be held by customers as a long-

term, independent store of value. Demand is also driven by the speed with which cryptocommod-

ities can be used to execute and settle transactions—especially those conducted on international

digital platforms—and their ability to be used in “microtransactions” that may be too costly if

performed with fiat currency or through other electronic means, such as credit cards.

        62.     Examples of the cryptocommodities at issue here are bitcoin, bitcoin cash,

ethereum, ethereum classic, litecoin, monero, dash, and ZCash.

        63.     The different cryptocommodities within this market, such as bitcoin and ether, 31

are reasonable substitutes for each other. They (a) are suitable for satisfying the demand for prod-

ucts that allow for quick and secure transactions; (b) can serve as long-term stores of value not




31
  Just as “bitcoin” refers to one unit of exchange in the “Bitcoin” system, so too does “ether” refer to one
unit of exchange in the “Ethereum” system.


                                                    21
     Case 1:19-cv-09236-KPF           Document 557         Filed 07/12/24      Page 22 of 118




controlled by a government or a private entity; and (c) are efficient for both large and small trans-

action volumes.

       64.     Fiat currency and gold (or other precious metals) are not substitutes for cryptocom-

modities. They do not provide a cryptographically secure, anonymous means of exchange. Their

use in digital transactions, and particularly cross-border transactions, is generally accompanied by

fees and other transaction costs that are considerably higher than those for cryptocommodities.

They are not practical for digital “microtransactions” due to limits on their divisibility and the

transaction costs involved. And fiat currencies are not independent of government influence or

control.

       65.     Other crypto-assets that are not a secure medium of exchange, not controlled in

supply, or not decentralized are likewise not substitutes for cryptocommodities. Crypto-assets de-

signed for use within a closed digital ecosystem—like BAT, used only for participation in a de-

centralized digital advertising marketplace—are not designed to be securely and rapidly exchanged

for a variety of other assets. Crypto-assets designed for use on a highly centralized or closed digital

ecosystem—like BinanceCoin, used only on the Binance crypto-exchange—also are not used as a

general means of secure exchange. And crypto-assets issued without a protocol that independently

ensures a controlled supply—like ERC-20 tokens—do not offer an independent store of value,

because their value depends on the actions of the issuers and the market’s perception of those

actions.

       66.     Accordingly, an attempt to increase the price of a cryptocommodity above a com-

petitive price by 5% or more would not result in customers switching to fiat currency, gold, or

other crypto-assets.




                                                  22
     Case 1:19-cv-09236-KPF           Document 557         Filed 07/12/24     Page 23 of 118




          67.   There are meaningful barriers to entry into the cryptocommodity market. These

barriers include the need to create a sufficiently large community of independent “miners” and

other users to create a distributed “peer-to-peer” network to verify transactions on their own block-

chains. Additionally, the need for cryptocommodities to be traded on exchanges, a process that

requires significant technical challenges, represents a barrier to entry before any given cryptocom-

modity can become a widely accepted means of exchange with a long-term, independent store of

value.

          68.   The cryptocommodity market includes both the cryptocommodities themselves

(e.g., bitcoin, ethereum,) and their corresponding futures contracts. A futures contract is an agree-

ment to purchase or sell an underlying asset at a predetermined date. In the context of bitcoin

futures, investors are exposed to the future price of bitcoin.

          69.   Bitcoin futures have traded on the Chicago Mercantile Exchange (“CME”) and Chi-

cago Board Options Exchange since December 2017. Bitcoin futures stopped trading on the Chi-

cago Board Options Exchange in June 2019.

          70.   Futures and spot transactions for the same commodity are inherently part of the

same product market because they involve the same commodity. While a commodity’s prices may

be lower or higher in futures transactions than in spot transactions, those prices will necessarily

converge as the delivery date for the futures converges to the present.

          71.   Bitcoin and bitcoin futures prices move in step, indicating that the spot market for

bitcoin directly affects bitcoin future prices. Any price manipulation or interference with price

discovery in the “spot” market accordingly has direct and immediate effects on bitcoin futures

prices.




                                                 23
     Case 1:19-cv-09236-KPF          Document 557        Filed 07/12/24     Page 24 of 118




       72.     The chart below illustrates the close relationship between prices of bitcoin and

bitcoin futures on the CME from December 2017 until February 2020:




       73.     Regulatory filings confirm the connection between the “spot” price and futures

prices. The final settlement price for bitcoin futures traded on the CME is equal to the CME CF

Bitcoin Reference Rate (“BRR”). CME informed the CFTC that “[s]tatistical analysis indicates

that the BRR accurately reflects the underlying spot market.” In other words, CME designed

bitcoin futures to track the spot price as closely as possible. Bitcoin futures that traded on Cboe

were similarly engineered.

       74.     The geographic market for cryptocommodities is global. Developers, issuers, and

miners of cryptocommodities can be in any country. Crypto-exchanges are located all over the

world and many allow access to customers from all over the world. Cryptocommodities transac-

tions occur over the internet and so are not geographically limited.



                                                24
     Case 1:19-cv-09236-KPF            Document 557         Filed 07/12/24       Page 25 of 118




                        a.      The Cryptocommodity Market Is Susceptible to Manipulation

        75.     The cryptocommodity market has historically been vulnerable to price manipula-

tion because it is volatile and lightly regulated.

        76.     The average daily volatility of bitcoin, ethereum, and litecoin from 2014 to 2019

was seven times greater than the volatility of the Bloomberg commodity index; three times greater

than the volatility of the Bloomberg energy index; and six times the volatility of the Bloomberg

precious metal index.

        77.     This volatility derives in part from the newness of the cryptocommodity market;

absent a long trading history, it is difficult for traders to anticipate price movements. This volatility

also derives, in part, from a lack of easily reportable figures understood to correlate with growth.

Unlike the value of conventional commodities like oranges, which is tied to physical and quanti-

fiable metrics like rainfall, the values of cryptocommodities are not linked to physical metrics. The

lack of significant price anchors that come with large-scale institutional capital investments also

contribute to volatility.

        78.     The cryptocommodity market has also, for much of its existence, been subject to

limited regulation. The CFTC categorized bitcoin as a commodity in 2015 and since then has

brought few enforcement actions.

        79.     These conditions created an environment ripe for manipulation.

        80.     One infamous example of such manipulation took place between 2013 and 2014

through an automated trading program (a “bot”) termed the “Willy Bot.”




                                                     25
           Case 1:19-cv-09236-KPF       Document 557       Filed 07/12/24     Page 26 of 118




            81.    Between 2013 and 2014, Mark Karpeles, the owner and operator of crypto-ex-

change Mt. Gox, which then handled 70% of all bitcoin trading, 32 implemented the Willy Bot to

successfully manipulate bitcoin’s price from about $150 to over $1,000 in less than two months.33

When Mt. Gox finally suspended trading due to its insolvency, the price fell to $500. 34

            82.    On May 25, 2014, an anonymous trader posted a report titled, “The Willy Report:

proof of massive fraudulent trading activity at Mt. Gox, and how it has affected the price of

Bitcoin” (the “Willy Report”). 35 The Willy Report provided a detailed analysis of Mt. Gox’s leaked

trading logs and concluded that someone had programmed a bot to buy ten to twenty bitcoin every

five to ten minutes. It concluded that this “enormously” affected the price of bitcoin and played a

key role in its rise to $1,000. 36

            83.    Additional academic research reached the same conclusion. In an article published

in 2018, one team found that “suspicious trading activity of a single actor was the primary cause

of the massive spike in the USD/BTC exchange rate in which the rate rose from around $150 to

over $1,000 in just two months in late 2013.” 37

            84.    The researchers observed that the Willy account became active on September 9,

2013 and continued to trade until their data cutoff on November 30, 2013. Because Karpeles owned




32
  See Neil Gandal et al., Price Manipulation in the Bitcoin Ecosystem, 95 J. MONETARY ECON. 86, 86-87
(2018), https://perma.cc/P35S-M7TN.
33
     Id.
34
  Paul Vigna, 5 Things About Mt. Gox’s Crisis, WALL ST. J. (Feb. 25, 2014), https://perma.cc/A2WH-
SXFL.
35
     Willy Report (May 25, 2014), https://perma.cc/EN6E-2HJP.
36
     Id.
37
     Gandal, supra note 32, at 87.


                                                   26
        Case 1:19-cv-09236-KPF          Document 557        Filed 07/12/24     Page 27 of 118




and operated the exchange, Willy never actually had to pay for bitcoin, but nonetheless “acquired

268,132 bitcoin, nominally for around $112 million” during that time period. 38

           85.    One passage captures their findings particularly well:

                  Separating the days on which Willy was active from those he was
                  not, reveals a dramatic difference: In the case of Mt. Gox, the aver-
                  age USD/BTC rate increased by $21.85 on the 50 days Willy was
                  active; it actually fell (by $0.88 on average) on days when Willy was
                  not active. The same dramatic difference holds for the other ex-
                  changes as well…These results are striking and make it very clear
                  that the suspicious purchasing activity could have caused the huge
                  price increases. 39

           86.    The below chart from the Gandal article illustrates the dramatic effectiveness of

this scheme: 40




38
     Id. at 89.
39
     Id. at 93.
40
     Id. at 90.


                                                   27
        Case 1:19-cv-09236-KPF          Document 557         Filed 07/12/24      Page 28 of 118




          87.     While it was initially unclear who controlled the Willy Bot, Karpeles eventually

admitted to controlling it at his trial in 2017. 41

          88.     The Willy Bot scheme underscores how control of an exchange and the opportunity

to trade with non-existent money can allow a single individual or entity to dramatically influence

cryptocommodity prices.

                          b.     The Cryptocommodity Bubble

          89.     From 2014 to 2016, bitcoin’s price fluctuated between $200 and $800. But, by the

end of 2016, bitcoin—and other cryptocommodities—began to see significant price increases. By

March 2017, the price of bitcoin was $1,200. By July 2017, it was above $2,500. 42

          90.     On December 17, 2017, the price of bitcoin reached a record high of nearly

$20,000. At that point, bitcoin’s market capitalization was nearly $327 billion, roughly the same

as Amazon at that time.

          91.     Then the market crashed. By February 2018, bitcoin’s price had fallen to $6,200.

The bitcoin market continued to hemorrhage throughout that year. In December 2018, roughly a

year from its high, the price of bitcoin was $3,500, and bitcoin’s market capitalization was down

to $62 billion.




41
  William Suberg, Mt. Gox Trial Update: Karpeles Admits ‘Willy Bot’ Existence, CoinTelegraph (July 11,
2017), https://perma.cc/5FMC-SJYM.
42
     Top 100 Cryptocurrencies by Market Capitalization, coinmarketcap.com, https://coinmarketcap.com/.


                                                      28
     Case 1:19-cv-09236-KPF           Document 557         Filed 07/12/24      Page 29 of 118




       92.      The relative price inflation of the bitcoin bubble far exceeded that of the most infa-

mous market bubbles in history, including France’s Mississippi bubble, Britain’s South Sea bub-

ble, the Dutch tulip bubble, and the dot.com bubble on the Nasdaq composite index: 43




       93.      The economic devastation was not confined to bitcoin. As bitcoin prices fell, so did

the prices of other cryptocommodities. The combined market capitalization of all virtual currencies

as of January 6, 2018, was roughly $795 billion; by Feb. 6, 2018, the total value had dropped to

$329 billion.




43
  Eric Lam et al., Did Bitcoin Just Burst? How It Compares to History’s Big Bubbles, BLOOMBERG (Jan.
17, 2018), https://perma.cc/DL4Z-6JDQ.


                                                 29
     Case 1:19-cv-09236-KPF           Document 557        Filed 07/12/24       Page 30 of 118




               4.      How Crypto-Assets Are Transferred and Exchanged

       94.     Unlike in traditional banks, where each customer has a bank account and is identi-

fied as the owner, control of crypto-assets is attested primarily through control of cryptographic

keys. These cryptographic keys have two components: a public key and a private key. This cryp-

tographic system of transfer and exchange is generally the same across most crypto-assets, includ-

ing bitcoin and USDT.

       95.     To use Bitcoin as an example, the public key is used to produce the Bitcoin address.

A Bitcoin address is a destination for transfers of bitcoin, like the account number of a conventional

bank account. Bitcoin addresses are long strings of alphanumeric text, often abbreviated by a small

group of numbers and letters appearing in the string, such as 1s5F or R3w9.

       96.     A private key allows the owner of a Bitcoin address to access it, like a long PIN or

password for a conventional bank account.

       97.     Those who wish to transfer bitcoin need to know the recipient’s bitcoin address,

just as one transferring funds to a conventional bank account needs to know the account number

for that account. When they have the recipient’s address, transferors can use their private keys to

authorize the transfer of bitcoin, just as one would use a PIN or password to authorize a transfer

between traditional bank accounts.

       98.     A transfer of bitcoin is public to the extent that anyone can see the transferor’s

Bitcoin address, the recipient’s Bitcoin address, and the quantity of assets transferred. That is,

anyone could see that Bitcoin address 1s5F transferred 10.3 bitcoin to Bitcoin address R3w9. The

names of the individuals or entities that control these addresses, on the other hand, are private.

       99.     Because transfers between addresses are all public, one can follow the flow of

crypto-assets by downloading and analyzing the relevant blockchain. This allows economic




                                                 30
     Case 1:19-cv-09236-KPF           Document 557         Filed 07/12/24      Page 31 of 118




experts to perform sophisticated forensic analyses to trace the digital chain of custody of crypto-

assets belonging to a particular address.

       100.    Crypto exchanges emerged to enable smoother and faster trading between individ-

uals, just as stock and commodities exchanges emerged to enable easy trading of securities among

counterparties who never meet.

       101.    When a customer wishes to trade crypto-assets on an exchange, she must first create

an account on that exchange. The exchange will then provide that customer with a deposit address

that the exchange controls. When the customer deposits crypto-assets into that deposit address, the

exchange will credit her trading account with the corresponding crypto-asset. The exchange will

typically then transfer the crypto-assets into one of its other addresses for storage.

       102.    When a customer with an existing account wishes to transfer more crypto-assets

into an exchange to use in future trades, she must ask the exchange for a deposit address. This

destination address is often different each time the customer makes a transfer, meaning that one

cannot easily trace transactions belonging to a particular individual. 44

       103.    This process is similar to the process used by a customer transferring funds to an

online account with a stockbroker like Charles Schwab or E-Trade. Such a customer wires funds

from her personal bank account to an account controlled by the broker, for which she has a PIN

and password. The broker credits her with an equivalent amount of funds on its trading platform

and places the funds it received into its reserve.




44
  For an example of how to withdraw/deposit with Poloniex’s USDT personal deposit address, see How to
Deposit/Withdraw          USDT-Tron,         USDT-ERC20,       &       USDT-BEP20,           Poloniex,
https://support.poloniex.com/hc/en-us/articles/360040015014-How-to-deposit-withdraw-USDT-TRON-
USDT-ERC-USDT-OMNI.


                                                     31
     Case 1:19-cv-09236-KPF            Document 557         Filed 07/12/24       Page 32 of 118




        104.    When a customer wants to withdraw a crypto-asset from an exchange, she tells the

exchange the address into which she would like her crypto-assets transferred. The exchange then

debits the user’s account and transfers a corresponding amount of crypto-asset from the exchange’s

reserves to that address.

        105.    But trades within a single crypto-exchange are not visible in the way that trades

between users are, because such intra-exchange trades do not transfer actual crypto-assets between

addresses. That is, if Jane Smith transfers bitcoin from her 1s5F address, which is not on Poloniex,

to an address controlled by Poloniex, the blockchain will record a transfer from the 1s5F address

to an address designated by Poloniex and from there to an address that Poloniex uses to store

consumer bitcoin. But trades Jane makes within Poloniex will not be recorded on the blockchain.

Instead, intra-exchange transactions are kept only on the account balance sheets for customers

trading on the platform. Such intra-exchange activity is visible to the exchange itself, and may be

publicized, but it is not public.

        B.      Defendants Manipulate Cryptocommodity Prices

        106.    Defendants owned and/or operated two business: Bitfinex and Tether.

                1.      Defendants Operate Bitfinex, a Crypto-Exchange

        107.    Bitfinex is one of the “largest and least regulated” crypto-exchanges in the world. 45

While many crypto-exchanges only facilitate crypto-to-crypto transactions, Bitfinex is one of rel-

atively few that allow users to deposit and withdraw fiat currency such as U.S. dollars or euros.

Accordingly, Bitfinex is a common entry point for new traders, allowing them to convert tradi-

tional currency into crypto-assets.




45
  Nathaniel Popper, Bitcoin’s Price Was Artificially Inflated, Fueling Skyrocketing Value, Researchers
Say, N.Y. TIMES (June 13, 2018), https://perma.cc/U6UV-KQ3V.


                                                   32
           Case 1:19-cv-09236-KPF        Document 557         Filed 07/12/24       Page 33 of 118




            108.   Bitfinex was publicly announced in 2012 when its then-Chief Technology Officer,

Raphael Nicolle, posted about its creation on the popular online crypto-asset forum bitcointalk.org.

            109.   Bitfinex is one of the largest exchanges by volume for trading bitcoin against the

U.S. dollar. For the 24 months ended March 31, 2019, Bitfinex had the largest share of such trading

as reported by data.bitcoinity.org. 46

            110.   A report published by the New York Attorney General found that Bitfinex’s plat-

form was ripe for abuse. Even though “[t]rading by platform employees poses a conflict of inter-

est,” Bitfinex does “not provide any restrictions on employee trading.” 47 Bitfinex also offers a

number of “special order types” that “are only useful to professional, automated traders using so-

phisticated algorithmic strategies, where orders can be submitted and cancelled automatically, in

response to market signals not visible (or even available) to regular traders.” 48 Bitfinex “offer[s]

an order type called ‘hidden,’ in which the ‘hidden’ order does not appear on the publicly visible

order book.” 49 These hidden orders present an “opaque channel” mechanism for selling off bitcoin

without crashing the price.




46
     Initial Exchange Offering of LEO Tokens, BITFINEX.COM (May 8, 2019), https://perma.cc/LC7E-HY62.
47
  Office of the N.Y. Att’y Gen, Virtual Markets Integrity Initiative Report, Virtual Markets Integrity
Initiative Office of the N.Y. Att’y Gen. (Sept. 18, 2018), https://virtualmarkets.ag.ny.gov/.
[https://perma.cc/7YS8-LS7S].
48
     Id. § II.A.
49
     Id.


                                                    33
     Case 1:19-cv-09236-KPF           Document 557        Filed 07/12/24         Page 34 of 118




       111.    And in June 2014, one month after the Willy Report about Mt. Gox was published,

Devasini all but admitted on an online message board that he was working on a “Willy Bot” of his

own to drive the price of bitcoin to $10,000, as shown in this screen shot 50:




               2.      Defendants Create Tether—and USDT—To Support Bitfinex

       112.    Tether controls the crypto-asset USDT, one of the first stablecoins.

       113.    Stablecoins are crypto-assets designed to maintain a consistent value relative to one

or more ‘real world’ assets like gold or fiat currency.

       114.    Unlike bitcoin, stablecoins are not mined and are not cryptocommodities. For most

stablecoins, an issuer unilaterally controls the creation of new coins. Absent restrictions on the

creation of new coins, a stablecoin would be valueless—it would be subject to potentially unlim-

ited inflation as more was created.

       115.    In public interviews and in sworn testimony, Potter claims to have “[come] up with

the idea for Tether in late 2013.”

       116.    According to Potter, he developed the idea for USDT to complement the business

of the crypto-exchange Bitfinex. By creating a crypto-native stablecoin purportedly backed by




50
  Re: And We Have Another Bitfinex Hookey THIEVING Short Squeeze!, Bitcointalk.org (June 22, 2014),
https://perma.cc/HW9Q-5JVA.


                                                 34
           Case 1:19-cv-09236-KPF       Document 557         Filed 07/12/24     Page 35 of 118




equivalent amounts of U.S. Dollars held in reserve, Potter believed that Bitfinex would be able to

operate as a “crypto-only” exchange, and that other exchanges would follow suit.

            117.   During the Class Period, Defendants controlled USDT.

            118.   Potter stated that, in September 2014, he and Devasini incorporated Tether Hold-

ings Limited in the British Virgin Islands.

            119.   At the time of its incorporation, Potter was listed as a Director of Tether Holdings

Limited, and Devasini was listed as a Shareholder of Tether Holdings Limited. In fact, both Potter

and Devasini were shareholders of Tether Holdings Limited.

            120.   Potter stated that he and Devasini used the Tether Holdings Limited entity to ac-

quire another company, called RealCoin, which claimed to be developing a similar stablecoin,

“backed one-to-one by a fully auditable reserve of dollars.” 51 RealCoin was founded by investor

Brock Pierce, its first CEO Reeve Collins, and software engineer Craig Sellars. 52 According to

Potter, Tether Holdings Limited aimed to partner with other industry players working on similar

stablecoin projects and “[bring] everybody involved in this back under one roof.”

            121.   In November 2014, RealCoin was renamed Tether and its RealCoins were re-

branded as “tether” or USDT, the ticker under which the token is listed on crypto-exchanges

around the world. 53

            122.   After the rebranding, Collins reiterated Tether’s guarantee. He publicly asserted

“that the number of [USDT] in circulation will always equate to the dollars in its bank account”



51
   Michael J. Casey, Dollar-Backed Digital Currency Aims to Fix Bitcoin’s Volatility Dilemma, WALL ST.
J. (July 8, 2014), https://perma.cc/NX5W-UTYZ.
52
     Id.
53
   Pete Rizzo, Realcoin Rebrands as ‘Tether’ to Avoid Altcoin Association, Coindesk (Nov. 20, 2014),
https://perma.cc/DD89-UPL8.


                                                    35
           Case 1:19-cv-09236-KPF        Document 557       Filed 07/12/24     Page 36 of 118




and “that there are no pegs or formulas that complicate the process for its partners.” 54 He was

unequivocal: “When you want to redeem them, we issue you cash.” 55

            123.   In promoting USDT to the market, Defendants represented that they would keep

USDT “stable” by issuing USDT only in a manner linked to actual U.S. Dollars.

            124.   For USDT, this promise came in the form of three guarantees. First, Tether prom-

ised that each USDT would be backed by one U.S. dollar held in Tether’s reserves held in Tether’s

own bank accounts. Second, Tether promised that it would issue new USDT only in response to

legitimate market demand—customers’ willing to exchange dollars one-for-one for USDT. Third,

Tether promised that customers could redeem USDT for U.S. dollars at any time.

            125.   These promises, if true, would ensure that the value of a USDT would always be

one U.S. dollar. When a customer sent Tether one U.S. dollar, plus fees, Tether would send one

USDT in exchange, putting it into circulation. When a customer sent Tether one USDT, Tether

would provide one U.S. dollar, minus fees, in exchange and revoke that USDT from circulation—

a process known as “burning” USDT.

            126.   These USDT issuances and burns, like bitcoin transactions, are all recorded on the

blockchain. However, the corresponding U.S. dollar exchanges that are supposed to occur in this

process are not visible to the public.

            127.   Tether’s promises were the foundation of USDT’s value. If Tether were telling the

truth, a USDT would combine the best aspects of fiat currency and crypto-assets: It would be stable

and safe like the U.S. dollar but also, like other crypto-assets, easily transferable across different

crypto-exchanges, and free from many government regulations.



54
     Id.
55
     Id.


                                                   36
           Case 1:19-cv-09236-KPF        Document 557        Filed 07/12/24      Page 37 of 118




            128.   Similarly, from its formation until March 20, 2015, Tether’s website stated that

USDT

                   is backed 100% by actual fiat currency assets in our reserve account
                   and always maintains a one-to-one ratio with any currency held.
                   For example, 1 USDT = 1 USD. With almost zero conversion and
                   transfer fees, [USDT] is redeemable for cash at any time. 56

            129.   During that same time, Tether’s website also claimed that “Tether currencies are

essentially Dollars, Euros, and Yen formatted to work on the Blockchain. [USDT]s always hold

their value at 1:1 to the underlying assets.” 57

            130.   On January 15, 2015, Bitfinex—the crypto exchange controlled by Defendants—

represented that “each [USDT] is backed 1-to-1 by its corresponding currency, which can be

viewed and verified in real-time via the Tether.to website and on the Blockchain. Tether will be

fully transparent and audited to demonstrate 100% reserves at all times.” 58

            131.   On June 17, 2016, Tether released a white paper further assuring the public that

each USDT was backed by non-digital assets. It promised that:

                   [E]ach [USDT] in circulation represents one US dollar held in our reserves
                   (i.e. a one-to-one ratio) which means the system is fully reserved when the
                   sum of all [USDT] in existence (at any point in time) is exactly equal to the
                   balance of USD held in our reserve. 59

            132.   To bolster confidence in Tether’s reserves, the white paper asserted Tether’s com-

mitment to “maintaining the guarantee of 100% redeemability” 60 and promised that USDT “may




56
     Frequently Asked Questions, tether.to (Mar. 20, 2015) (emphasis added), https://perma.cc/L46W-VCNX.
57
     Id.
58
     Bitfinex Feature Announcement: Tether, bitfinex.com (Jan. 15, 2015), https://perma.cc/T4N8-G7DQ.
59
  Tether: Fiat currencies on the Bitcoin blockchain, tether.to, 9 (June 17, 2016), https://perma.cc/M2WS-
58JC (“Tether White Paper”).
60
     Id. at 17.


                                                    37
        Case 1:19-cv-09236-KPF          Document 557        Filed 07/12/24        Page 38 of 118




be redeemable/exchangeable for the underlying fiat currency pursuant to Tether Limited’s terms

of service or, if the holder prefers, the equivalent spot value in bitcoin.” 61

            133.   Tether’s white paper also depicted how USDT supposedly would be created when

fiat was deposited and would be withdrawn from circulation when redeemed for fiat: 62




            134.   Tether’s white paper acknowledged that it was “risky” to hold fiat on an exchange

and pointed to “the growing number of insolvency events” as indicative of that danger. It further

represented that it “believe[d] that using tethers exposes exchange users to less counterparty risk

than continually holding fiat on exchanges.” 63

            135.   A year later, on April 5, 2017, during court proceedings against Wells Fargo, Velde

filed a declaration, under penalty of perjury, swearing to USDT’s redeemability:

                   Tether is a financial technology company that operates a platform to
                   store, send, and make purchases with a form of digital currency –
                   digital tokens called [USDT]– that are fully backed by U.S. dollars


61
     Id. at 4.
62
     Id. at 7-8.
63
     Id. at 13.


                                                   38
        Case 1:19-cv-09236-KPF            Document 557        Filed 07/12/24    Page 39 of 118




                  on deposit from customers. [USDT] may be redeemed or exchanged
                  for the underlying U.S. dollars. . . . Customers who want to purchase
                  Virtual Currency through Bitfinex must deposit U.S. dollars or
                  [USDT] into their Bitfinex account and in exchange receive an
                  equivalent amount of Virtual Currency until they ask Bitfinex to re-
                  mit back the U.S. dollars they deposited. Likewise, customers who
                  want to purchase [USDT] through Tether must deposit U.S. dollars
                  in their Tether account and in exchange receive an equivalent
                  amount of [USDT] until they ask Tether to remit back the U.S. dol-
                  lars they deposited. . . . For these systems to work, customers de-
                  pend on Bitfinex’s and Tether’s ability to send back to them the U.S.
                  dollars they deposited with Bitfinex or Tether. 64

          136.    Until at least February 19, 2019, Tether’s website continued to represent that Tether

“converts cash into digital currency,” that “[e]very [USDT] is always backed 1-to-1, by traditional

currency held in our reserves[] [s]o 1 USDT is always equivalent to 1 USD;” and that “all [USDT]

in circulation always match our reserves.” 65

          137.    On March 4, 2019, Tether stated that every USDT was “1-to-1 pegged to the dollar”

and “100% backed” by reserves that “from time to time may include other assets.” 66

          138.    On April 25, 2019, Tether’s counsel represented to the Office of the New York

Attorney General that “issuances of new [USDT] occur when an investor has requested to purchase

[USDT] by depositing U.S. dollars with Tether the company, or by depositing U.S. dollars with a

trading platform that is authorized to accept dollar deposits in exchange for USDT.” 67

          139.    As of October 2019, USDT was reportedly the most widely used crypto-asset in the

world by trading volume, surpassing even bitcoin. In October 2019, Bitfinex and Tether’s Chief




 J.L. van der Velde Declaration ¶¶ 5, 6, 12, 14, ECF No. 9, iFinex Inc. v. Wells Fargo & Co., No. 3:17-
64

CV-01882 (N.D. Cal. Apr. 5, 2017).
65
     tether.to (Feb. 19, 2019), https://perma.cc/B663-LR72.
66
     tether.to (Mar. 04, 2019), https://perma.cc/FWY6-23EP.
67
     Whitehurst Aff. ¶ 34.


                                                     39
        Case 1:19-cv-09236-KPF          Document 557         Filed 07/12/24      Page 40 of 118




Technical Officer boasted that USDT possesses a near-perfect monopoly on the stablecoin market

by accounting for 98.7% of worldwide stablecoin trading volumes. 68

          140.    While the market value of USDT would fluctuate—at times, one USDT would trade

for more or less than one US dollar—Tether said that it would always redeem one USDT for one

US dollar (minus fees).

          141.    For most of the Class Period, Tether had a nearly 100% market share in stablecoin

pegged to U.S. dollars; for the rest, it had a dominant share:




          142.    USDT is currently the third largest crypto-asset in the world by market capitaliza-

tion, purportedly over $83 billion based on the over 83 billion USDT in circulation. 69




68
  Olga Kharif, Biggest Crypto Exchange Takes on Tether With Own Stablecoins, BLOOMBERG (June 6,
2019), https://perma.cc/XNE7-RV78.
69
     Top 100 Cryptocurrencies by Market Capitalization, coinmarketcap.com, https://coinmarketcap.com/.


                                                    40
     Case 1:19-cv-09236-KPF          Document 557        Filed 07/12/24     Page 41 of 118




       C.      Defendants Debased USDT

       143.    Core to Defendants’ scheme was Tether’s ability to convince the markets that

USDT was backed one to one by U.S. dollars. Throughout the Class Period, this guarantee was

unambiguous. Because the market accepted Tether’s representation, USDT had the same economic

power within the crypto-economy as U.S. dollars.

       144.    Tether’s representation that USDT was fully backed by U.S. dollars was false.

       145.    Tether “authorized” USDT by creating it on the blockchain and placing the USDT

tokens into Tether’s treasury wallet. Tether considered USDT to be “issued,” and thus in circula-

tion, once it transferred USDT to a Tether customer through the Tether platform. (Tether excluded

from its definition of “issued” USDT any USDT that had been authorized but not issued and USDT

that had been “quarantined” as the result of a hack.) Based on Defendants’ representations, any

issued USDT required dollar backing.

       146.    During the Class Period, Tether issued 2,995,048,400 total USDT. During the same

period, it net issued 1,848,776,275 USDT to Bitfinex (this net issuance equals the USDT that

Tether’s treasury wallet sent to Bitfinex minus the USDT that Bitfinex sent back to Tether’s treas-

ury wallet).

       147.    Throughout the Class Period, Tether often held fewer U.S. dollars in its bank ac-

counts than the number of USDT that it had issued.

       148.    The scheme to issue USDT without full U.S. dollar backing was made possible by

Defendants’ common control of Tether and Bitfinex, which Defendants took affirmative steps to

conceal, and by the joint operation and commingling of their businesses.




                                                41
        Case 1:19-cv-09236-KPF           Document 557        Filed 07/12/24    Page 42 of 118




          149.     In November 2014, when RealCoin rebranded to become Tether, it stated that

Tether had formed “new partnerships in the bitcoin space, including agreements with Hong Kong-

based bitcoin exchange Bitfinex.” 70

          150.     The November 2014 announcement omitted that Devasini and Potter—Bitfinex’s

CFO and CSO—created and had controlled Tether’s holding company since September 2014. 71

          151.     It also omitted that Velde and Devasini—Bitfinex’s CEO and CFO—had incorpo-

rated Tether Limited in September 2014 and served as its only directors along with Defendant

Potter. 72

          152.     An archived copy of the Tether website from March 2015 identified Potter and

Devasini as “advisors” and did not identify Velde at all. 73

          153.     This overlapping control structure remained largely concealed from the public until

November 2017, when German reporters leaked over 13 million electronic documents known as

the Paradise Papers. 74

          154.     The links between Tether and Bitfinex go beyond their shared control.

          155.     Tether’s “Treasury” is the account, solely controlled by Tether, in which all USDT

are revoked/burned. 75




70
  Pete Rizzo, Realcoin Rebrands as ‘Tether’ to Avoid Altcoin Association, COINDESK (Nov. 20, 2014),
https://perma.cc/DD89-UPL8.
71
     Tether Holdings Limited, Offshore Leaks Database, https://perma.cc/UDT7-ACVW.
72
     Tether Limited, Hong Kong Registry, https://perma.cc/RDU3-9E7D.
73
     Our Team, tether.to (Mar. 29, 2015), https://perma.cc/UC2T-JEJF.
74
  Nathaniel Popper, Warning Signs About Another Giant Bitcoin Exchange, N.Y. TIMES (Nov. 21, 2017),
https://perma.cc/N33P-WNDG.
75
     See Tether White Paper, at 8.


                                                    42
        Case 1:19-cv-09236-KPF          Document 557        Filed 07/12/24     Page 43 of 118




           156.   Until November 2017, customers could theoretically purchase USDT directly from

Tether in exchange for U.S. dollars. 76 These direct purchases were reenabled on November 27,

2018. 77

           157.   But direct purchases by customers other than Bitfinex have always made up a tiny

fraction of all issued USDT. Tether issued the vast majority of USDT to accounts on Bitfinex,

which was the only exchange to which Tether directly transferred USDT. 78

           158.   Tether’s exclusive relationship with Bitfinex for initial USDT issuances meant that

Bitfinex was the only meaningful path for USDT to enter the crypto-economy. Bitfinex’s role in

distributing USDT accordingly gave it substantial economic power in the crypto-markets. 79

           159.   Tether could have set aside a U.S. dollar in reserve for each new USDT it issued to

Bitfinex. If that were the case, then USDT would remain readily exchangeable for U.S. dollars and

so the digital equivalent of U.S. dollars. But it did not do so.

           160.   Access to the U.S. financial system was an essential component of Tether’s busi-

ness. Tether’s model depends on its use of the U.S. financial system—i.e., U.S. dollar deposits and

redemptions—to back its manufactured digital assets.

           161.   To accept and transmit U.S. dollars to their customers, Bitfinex and Tether required

either a U.S. bank account or an account with a bank that maintains its own “correspondent




76
     Whitehurst Aff. ¶ 36.
77
  Tether Reopens Account Verification and Direct Redemption of Its Fiat from Its Platform, TETHER
(Nov. 27. 2018), https://perma.cc/C9XV-NA7Y.
78
  What is Driving Tether’s Growth and What Financial Institutions Could Learn From It, Chainalysis
(Aug. 2018), available at tether.to, https://perma.cc/4MYT-3F8B.
79
  Robert-Jan Den Haan, Clearing Up Misconceptions: This is How Tether Should (and Does) Work,
Bitcoin Magazine (June 14, 2018), https://perma.cc/6J2Q-2U33.


                                                   43
        Case 1:19-cv-09236-KPF           Document 557         Filed 07/12/24      Page 44 of 118




account” with a U.S. bank. In the second scenario, the correspondent account serves as an inter-

mediary and ‘clears’ the U.S. dollar transaction.

          162.    Money never actually ‘moves’ across the border in international transactions. To

transmit funds in other currencies, banks maintain ‘correspondent accounts’ at foreign banks.

“Typically, foreign banks are unable to maintain branch offices in the United States and therefore

maintain an account at a United States bank to effect dollar transactions.” 80

          163.    To transmit U.S. dollar funds internationally, a series of bank accounts are credited

or debited accordingly. The graphic below depicts a typical U.S. dollar transaction in which:

                  •   Bitfinex instructs its bank to wire U.S. dollars to a customer located in the
                      United Kingdom;

                  •   a Taiwanese bank debits Bitfinex’s account and instructs its U.S. correspondent
                      to process the transaction;

                  •   the U.K. correspondent bank is instructed to debit the account of the Taiwanese
                      correspondent and credit the account of the U.K. bank;

                  •   the U.K. bank is instructed to credit the customer’s account; and

                  •   the U.K. customer gains access to the funds.




80
     Sigmoil Resources, N.V. v. Pan Ocean Oil Corp. (Nigeria), 234 A.D.2d 103, 104 (1st Dep’t 1996).


                                                    44
       Case 1:19-cv-09236-KPF           Document 557         Filed 07/12/24       Page 45 of 118




          164.    Access to a U.S. correspondent account is therefore essential to transmitting U.S.

dollars internationally. 81

          165.    For the correspondent bank, these transactions are high-risk from an anti-money

laundering perspective because the originator and beneficiary are one step removed from the bank.

Money launderers often capitalize on this disconnect by using shell companies to obscure the true

counterparties even more. 82

          166.    Because Bitfinex’s and Tether’s businesses required them to exchange USDT for

U.S. dollars, access to U.S. correspondent banking was critical. Without it, they could not operate.

                  1.     2017: Tether Issues USDT to Bitfinex in Exchange for IOUs

          167.    Initially, Bitfinex and Tether utilized Taiwanese banks including Hwatai Commer-

cial Bank, KGI Bank, First Commercial Bank, and Taishin Bank to hold fiat currency, including

USDT reserves. 83

          168.    Those banks relied on Wells Fargo as a correspondent bank to transfer funds inter-

nationally. 84 Unless Tether’s customers maintained a bank account in Taiwan, they required Wells

Fargo to send or receive US Dollars from Tether in exchange for USDT.




81
  See Correspondent banking, Committee on Payments & Mkt. Infrastructures, Bank for International
Settlements, at 9 (July 2016) (“On a cross-border level, however, correspondent banking is essential for
customer payments and for the access of banks themselves to foreign financial systems for services and
products that may not be available in the banks’ own jurisdictions.”), https://perma.cc/9Z92-KSU6.
82
  Alexander Weber, et al., Money to Launder? Here’s How (Hint: Find a Bank), BLOOMBERG (Mar. 9,
2019), https://perma.cc/DXP4-FHXX.
83
   Complaint ¶¶ 31, 32 ECF No. 1, iFinex Inc. v. Wells Fargo & Co., No. 3:17-CV-01882 (N.D. Cal. Apr.
5, 2017) (“Wells Fargo Compl.”).
84
     Wells Fargo Compl. ¶¶ 33-34.


                                                   45
        Case 1:19-cv-09236-KPF          Document 557        Filed 07/12/24      Page 46 of 118




           169.   On March 31, 2017, Wells Fargo stopped providing correspondent banking services

for Bitfinex and Tether. 85

           170.   In a lawsuit they filed against Wells Fargo, Bitfinex and Tether stated that Wells

Fargo’s “decision to suspend outgoing wire transfers in U.S. dollars from [their] correspondent

accounts presented an existential threat to their businesses,” and that if they “could not remit to

customers U.S. dollars that belong to their customers, [their] businesses would be crippled” and

“brought to a standstill.” 86

           171.   Tether was cut off from its Taiwanese banks on April 17, 2017. 87

           172.   On April 22, 2017, Tether issued a statement confirming that “all incoming inter-

national wires to Tether have been blocked and refused by our Taiwanese banks. As such, we do

not expect the supply of [USDT] to increase substantially until these constraints have been

lifted.” 88

           173.   Bitfinex and Tether’s banking troubles should have constrained their ability to issue

or redeem USDT—either because they lost part of their U.S. dollar reserves or because they could

not receive additional U.S. dollars to back the USDT they would issue. If Tether’s representations

were accurate, it could not have issued new USDT until it found a way to receive new U.S. dollars.

           174.   Despite having no banking access to process fiat, Tether kept issuing USDT.




85
     Wells Fargo Compl. ¶¶ 39-41.
86
     Id. ¶ 47.
87
     Announcement, tether.to (Apr. 22, 2017) (emphasis added), https://perma.cc/AW3W-TJZK.
88
     Announcement, tether.to (Apr. 22, 2017) (emphasis added), https://perma.cc/AW3W-TJZK.


                                                   46
     Case 1:19-cv-09236-KPF            Document 557         Filed 07/12/24       Page 47 of 118




        175.    In May 2017, after losing access to banking in Taiwan, Tether transferred its U.S.

dollar reserves—the reserves backing issued USDT—to an account at Bank of Montreal held by

Tether’s General Counsel, Stuart Hoegner, in trust for Tether.

        176.    Per Tether’s agreement with Bank of Montreal, Tether could use that account only

to store USDT reserves and pay customer redemptions. The Bank of Montreal would not allow

Tether to use the account to accept new deposits following the initial transfers of funds from the

Taiwanese banks. Tether thus could not accept fiat currency in exchange for new issuances of

USDT after April, 2017. By Tether’s own representations, Tether should not have issued any new

USDT since it could not process any fiat deposits or purchases of Tether by customers either di-

rectly via the Tether platform or via Bitfinex.

        177.    In June 2017, having also lost its correspondent banking, Bitfinex opened an ac-

count with a Puerto Rico-based entity named Noble Bank International (“Noble”). Noble was run

by a chief executive officer whom Potter had known for many years. Members of Bitfinex and

Tether management invested in Noble in 2017.

        178.    Noble, on behalf of Bitfinex, accepted funds from only a handful of institutional

customers of the exchange.

        179.    Defendants did not open an account for Tether at Noble, or with any other banking

institution, at that time. Defendants did not open an account for Tether until September of 2017,

which it opened with Noble. 89

        180.    During the six months from April through September 2017 when Tether did not

have a bank account that could receive U.S. dollars, it issued nearly 409 million new USDT:




89
   Whitehurst Aff., at ¶ 53; ECF No. 95, James v. iFinex Inc., No. 450545/2019 (Sup. Ct. N.Y. Cty. July
8, 2019) (Feb. 2018 Bank Account Application).


                                                   47
  Case 1:19-cv-09236-KPF                 Document 557          Filed 07/12/24          Page 48 of 118




  Timestamp       USDT Transfer Amount                               Blockchain TXID
 4/3/2017 0:06         1,000,000            b8d1a643184c5c6839faf62237ed87dfdd54397b0a286cb9b4fc6b5d4ddfde83
4/3/2017 15:24         1,500,000            d554bee84bdadfdaa28bea3b87cd7dc9989423f4f3622b836e1af589fde04a1e
4/5/2017 19:26         1,500,000           248eb37c05afd4552f73e44adc39a1e04b5262897173696ec40bf066c2bbaba3
4/12/2017 17:08        1,000,000            a74be8a756589288d0ca789256cdff812a98ef86320e0331c48f4ae805089671
4/13/2017 10:24        1,500,000            cd9adc6b4a26c25fc3fefee42cc1ef55c771506e78bc2043b6e3beb644fc3374
4/18/2017 7:30         1,600,000            8d1d117d1a25c0c78e2dc2d5fc09408732a4277ece1dd1ef179bd51d8f23d15f
4/25/2017 7:09         10,000,000          08d3a4711d491ed7c1c7e388f368aac79393c11b7f02131bef3ae93983de312a
5/23/2017 22:40        2,000,000            112b251e382542321cfb32f155cab8c453e9cb161b32b6d4fcce5f9420814277
5/24/2017 13:50        4,000,000            36c7e874662608bc1f2c689157d28949f3d379299a53bcfabc92fb65d7f15954
5/25/2017 0:26         2,000,000           10046816e7b3f5e08d7a77911d8c437750a078c7208711af583d8fa64e0e6d58
5/25/2017 7:55         4,000,000           11dbcbe1e7915394c51299c27920bd9532135e69c754c694e058e3cd177860b3
5/25/2017 18:47        6,000,000            db6629f480f9fb3830e0f8ad90464f122086599bd3f00c16eafd0db7a5d4b356
5/26/2017 13:41        4,000,000            3905b41ec59f44d4cc794b9d402a48f169bfca0aa8a6d5730ef8220f0793f8a0
5/26/2017 20:33         600,000            b3ea5423110075befe4d39e57bda3ea9ac6dc508d84468bc71de8b6f0ca24d69
5/26/2017 21:58        10,000,000          f005cb4ba2b828c99c7400a69216479aee2c9bede710aadc32ef986438ed22c1
5/27/2017 11:14        5,000,000            c2ec6608d5c7358972f35163594d0b194b8a97c5542e2a4064ff4a0f4ef42d9a
5/27/2017 15:48        5,000,000           1024d3399aa3532c12339bb19305c4c2ee32cb1aa0d18eec92ab0ee76425f124
5/29/2017 7:01         5,000,000            7f4a4e50e9194601c4ef67014f1fec2009ccea90f0b08bdf70ea7c215fd67d00
 6/6/2017 7:14         10,000,000          5e3c0a1c29f7630d6ca5a2926b1b849a96005222c9fe2b2cfabc402400b314e3
6/6/2017 17:40         4,500,000           3a5559e39e249b3694311de4de3b5f831df067ea9525ba572847e1c9c6178705
6/6/2017 23:52         3,000,000            c48eb1cb7f2a44db17417437c64d056f249a306c031306cbab95e4d7cf6818fa
6/12/2017 22:35        5,000,000           20ae78d39ebe975f2e28409195b4d8360bc631fd74c156d0859be265a9b37dfe
6/14/2017 16:18        5,000,000            fd0bbaf903212a7570472c6930a220a7fc85ae94dd20c3c1d06836fb547ae381
6/15/2017 12:58        5,000,000           d6d422aaf590f8ae5fc710a6b8c081639dd0b577390c55647779e2a182004dbb
6/15/2017 23:10        2,200,000            70eeaa8c26d1695478c084a53f234b7fb6dca74acebe6185e87cf013dbf1d26d
6/21/2017 21:55        6,500,000           1ceb875df8d790e3bdeb6582124ed136bd4d32cf77677e5525ea07fb882e6900
6/21/2017 22:33        2,500,000            c15786c059f1ed391a924a47d8ec41130abc95d5767f3f89dfdc71fc0ce983a3
6/22/2017 22:30        3,000,000           27c0768cd8d4081bb2916028910be0d789e4744779f2679059e2ef129d166529
6/23/2017 17:44        5,000,000            2b017390e46b9ece79ef54169b0d0fac07c36e6c3f41d992cb79d7c2847fba1c
6/24/2017 16:31        3,200,000           4f3368b8b349d7026c7a67001726c8130f1658cdac0a51ac4edbc265da81ce4f
6/24/2017 22:27        10,000,000           5a2bace7baa1d7827afaaa68d8c31cb539c11ac40f335fa20f0880ba33906d8a
6/26/2017 8:06         5,000,000            9e8fcc6ca4ddbef482b90b35d644711c0bf5ffc339e663c9568f02cd27cee934
6/26/2017 15:06        5,081,775            a9352a2a98436607127f4d388e79b092fff59db9100ec48ea55fb7da17f40491
6/26/2017 18:33        10,000,000           d72d8082dfa5c037f50792f07f23a560ee2d9bd684846c4fca10086dcb7afb9c
6/26/2017 22:46        5,000,000             b8223ac91fdc11935dfca7ff787fdd28223ce5d4aa4425392ff7cfb6216e45d2
6/27/2017 12:30        10,000,000           21e2a6c1fc73838890671a272e9de1501f8ef41adfc0454dbb28aa8ad6a21075
6/27/2017 16:05        5,000,000            fe446e42915118fb478bd0305775e25b94307aa2fd281f8c0628cb0c50cb7d6f
 7/2/2017 9:06         5,000,000            c9735068b8dd2878e9ab2a2ecff6f01e1ca46a0f71354eccfed6643db095505c
7/10/2017 14:20        5,000,000            dbefb4d9843ff8bc722153eefc9dc1d3a15321ed217d841f9ee5b5825d89c14a
7/10/2017 17:42        10,000,000          0add54d1abde8c35083e4e5cd041aab9ba094760125b2826e8ce7478738dfa03
7/10/2017 23:37        5,000,000            f7f42320402a8a2e72c431988023680937e9e133fed3debc881f8c74bc9b9bb7
7/10/2017 23:53        4,000,000            9b6dc061f0d915069e55d1b64e6ea9e379c170ea5aa825ebf86a2cb2547f0f36
7/11/2017 7:51         15,000,000           ca0f89855fc19663ce36e529cf56fb71587b25791aa5cf3030a019cb9a48fc21
7/12/2017 11:08        10,000,000          0e3e6334b6d16a8a382457050b4cf013d5d490ab14c6c98b5101d9a266e9fdb3



                                                    48
        Case 1:19-cv-09236-KPF                 Document 557          Filed 07/12/24          Page 49 of 118




     Timestamp          USDT Transfer Amount                               Blockchain TXID
   7/13/2017 16:33           5,500,000            630756dc52f585218f722f5ac59bbef521a28e5251bb527c3699cbde1de89313
   7/13/2017 22:14           15,000,000           4275e16f602457584c8c6c7b9a6a0f075e497c4f4630781cfb6efb09ff8227b4
   7/15/2017 19:53           5,000,000           8935ccfe09ecf1c71631130bab6c934122e7349d1545d86d6836570b2ea27101
   7/18/2017 3:18            5,000,000           b2b685c4017bdb1154c127cea7a64e1979675ecbd4f3075c34ad531a219f64a4
   7/18/2017 20:24           10,000,000           f3ff4daed4325097104288f8906363e08ded0839b2accbb7fb3c56679623303e
   7/20/2017 7:07            10,000,000          b89ba738d204ca8e321d8b6ed04ac02322414f7ca04e68c08d41a1b5b09175c2
    9/2/2017 8:45            5,500,000            9200fe95486fdf753ec20dc70bafa89eeee640c204714894eabd453e216a0dd9
   9/2/2017 15:55            14,500,000           5bd0f9b9a4c9f07bc9da3edcced5ba6f02222fc2ecf30a922a6eae3a97560df6
   9/2/2017 22:19            4,500,000           0949dd875b08d6239625f36efe0ec1aa131f1ae181b2a975656274d1eb55f550
   9/3/2017 13:56            20,000,000          e189d337cb788d05ffbe02908cab7ddb44b5de8ba08169c915aa759c293323a4
   9/4/2017 18:31            6,200,000           f57d1f91d85c1617966fc1e8a5451c5dca880a47da4aa2d7374b64b3d15cec52
    9/5/2017 6:51            15,000,000          e3048a56294f18d2fc7cd9d42bd66084399e427c02b112c7744ca84b6871c9f2
    9/7/2017 9:52            9,000,000           b22b60c16203393aec2b6abc37093c0d1a37781736b3f0198a3d4b953c0ab9cc
   9/9/2017 12:19            10,000,000          c53c029e74963499548938ea46037a0e1a4dd13e92e1ca8276fae966acd581f9
   9/13/2017 9:39            10,000,000          3c45c086747866883c0205e37a0bc6a48125cf7d49ed5ed7810f6a147df840b9
   9/14/2017 17:37           5,000,000            f6ca993afbc8f68658e31562bd2b5a2e50cbc2f327f26fb7d135d7ce30c01161
   9/15/2017 9:13            15,000,000          134f218857fe6275adb6537cae587dd1a8961096dce74a58e5af746e643dcc58
   9/15/2017 16:41           9,000,000             d8b5f5481743b704f6af4f803e4fde38f49539dafc0fc2f226637c60c2ac90db
   9/29/2017 11:12           10,000,000           e88457b5650bdf67a9974d4f34d91271a589cbff19b623570cd2bedc2b1af343
         Total              408,881,775



          181.       Tether issued this USDT to Bitfinex. But Bitfinex did not pay Tether U.S. dollars

for any of the USDT it received at the time that Tether issued the USDT, as other customers would

have been required to do.

          182.       Instead, Bitfinex gave Tether a promise to pay for the USDT in the future: an “IOU”

which Tether tracked on its books as an account receivable. By September of 2017, Bitfinex owed

Tether’s reserves nearly $400 million.

          183.       Up until September 15, 2017, the only U.S. dollars that Tether held, and which

ostensibly backed the over $400 million USDT in circulation, were in an account holding $61 mil-

lion.




                                                          49
       Case 1:19-cv-09236-KPF          Document 557         Filed 07/12/24       Page 50 of 118




          184.   In the late summer of 2017, online reports questioning Tether’s backing caused

concern among Bitfinex and Tether executives. 90 To counter them, in September of 2017, Bitfinex

and Tether sought to have the auditing firm Friedman LLP issue a verification of its cash balances.

          185.   Defendants acted to conceal from the market that it had issued USDT backed by

IOUs. On September 15, 2017, Defendants opened a bank account for Tether at Noble and trans-

ferred to it $382 million from Bitfinex’s Noble account, which included commingled Bitfinex

funds and customers’ assets.

          186.   Defendants then had Friedman conduct its verification of Tether’s assets as of

8 p.m. EST the evening of September 15, 2017. 91

          187.   In a so-called “Transparency Update,” dated September 30, 2017, Tether an-

nounced that it had engaged Friedman to “analyze its bank balances” and posted a redacted copy

of Friedman’s report. 92 The announcement and report listed Tether’s bank balances as of 8 p.m.

EST on September 15, 2017. Friedman made “no representations about [Tether’s] ability to access

funds from the accounts or whether the funds are committed for purposes other than Tether token

redemptions.” 93




90
   The Curious Tale of Tethers, Hackernoon, (Aug. 6, 2017) https://hackernoon.com/the-curious-tale-of-
tethers-6b0031eead87.

 Memorandum Regarding Consulting Services Performed, Friedman LLP, (September 28, 2017)
91

https://assets.ctfassets.net/vyse88cgwfbl/7ow3ykSHqpJloiIunVvi0B/3e3e4738ee0b7ff1fb492e9d2875760
4/Final-Tether-Consulting-Report-9-15-17_Redacted.pdf (“Friedman Audit Memo”).
92
  Transparency Update, tether.io, (Sep. 30, 2017), https://tether.to/en/announcement-transparency-
update/.
93
     Friedman Audit Memo at 4.


                                                   50
     Case 1:19-cv-09236-KPF          Document 557        Filed 07/12/24     Page 51 of 118




       188.    In January 2018, Friedman resigned from its engagement to perform an audit of

Tether. It stated that its “most significant concerns regarding the cash balances are the existence

of the cash and any restrictions on the balances.”

       189.    It added: “[f]rom our discussions with Noble, the Noble banking platform was im-

plemented this year and has not yet been audited by an independent accounting firm or tested by

regulators. Noble’s customers balances are held in an omnibus account with BNY which means

that BNY wouldn’t be able to confirm the balance held on behalf of Tether.”

       190.    Tether understood that Friedman resigned from its engagement to audit Tether in

part because of the relationship between Tether and Noble. According to Tether, it was Noble’s

largest customer around the time that Friedman resigned.

       191.     After Bitfinex paid the initial receivable accrued between April and September

2017, Bitfinex accrued another debt to Tether’s reserves for nearly $400 million between late Oc-

tober and early December 2017. By March of 2018, the receivable Bitfinex owed Tether had bal-

looned to over $1.8 billion.

                       a.      Receivables Were Not One-to-One Dollar Backing

       192.    When Tether counted IOUs from Bitfinex as a part of its “reserves,” Tether was

printing and issuing its stablecoin without full U.S. dollar backing. The USDT that Tether had

issued was not backed one-to-one by U.S. dollars held in Tether’s bank accounts, as Tether had

promised the market.

       193.    By promising that USDT was backed one-to-one by U.S. dollars held in Tether’s

own bank accounts, Tether was promising customers that it would always have the dollars availa-

ble to redeem all outstanding USDT at 100 cents on the dollar and thus, customers faced no credit

or liquidity risk in buying and holding USDT.




                                                51
       Case 1:19-cv-09236-KPF          Document 557         Filed 07/12/24       Page 52 of 118




        194.    By accepting IOUs in exchange for issuing USDT, Tether was introducing undis-

closed credit risk that it would not have the U.S. dollars required to redeem all USDT in circulation

at any given time. During periods where Bitfinex’s payments were outstanding, Tether was vul-

nerable to bank runs in the event traders lost confidence in USDT—precisely the type of liquidity

crisis that Tether assured traders could never occur because of USDT’s supposed one-to-one back-

ing.

        195.    Tether’s violation of its core promise to traders had an outsized effect on the crypto-

asset market. Because Tether represented that it was backed one-to-one by fiat assets, traders be-

lieved that every time new USDT was issued, a commensurate amount of new U.S. dollars had

effectively entered the market, signaling increased demand for cryptocommodities. This, in turn,

caused prices to rise.

        196.    Because Bitfinex did not pay for the USDT it received, there was no limit to the

amount of USDT it could acquire. Instead, issuances were made on an ad hoc basis at the whims

of Bitfinex and Tether executives. The influx of a debased asset reflected false demand signals,

which allowed Tether and Bitfinex to inflate the price of cryptocommodities in the market.

                         b.     Bitfinex Did Not Have U.S. Dollars Sufficient to Pay for the
                                USDT Issuances it Received at the Time of Issuance

        197.    Not only could Tether not redeem all issued USDT in circulation when it issued

USDT to Bitfinex without payment, Tether also bore the risk that Bitfinex could not pay the

amounts due.

        198.    Defendants understood that a receivable was not the same as fiat currency. For

example, Potter testified that the value of a receivable is typically discounted to reflect the risk that

it may not be repaid. As Potter further testified, a receivable could be legitimate where it was




                                                   52
       Case 1:19-cv-09236-KPF           Document 557         Filed 07/12/24      Page 53 of 118




maintained in a segregated account, in the name of a company that Defendants controlled, but that

anything short of that would disqualify such a receivable.

          199.    Bitfinex did not have net U.S. dollars sufficient to pay for the USDT that it received

from Tether at the time of issuance.

          200.    Bitfinex did not keep the U.S. dollars that it owed Tether for this USDT in a segre-

gated account. Bitfinex also did not segregate customer assets from its own assets in its bank ac-

counts. Bitfinex instead commingled all funds in what is called “omnibus” accounts.

          201.    Bitfinex did not even maintain a balance sheet during the Class Period that showed

its total assets and liabilities. It has no historical record of total assets and liabilities, and cannot

recreate any records showing that it had sufficient net U.S. dollars to cover the amounts that it

owed to Tether.

          202.    The only historical record of Bitfinex’s finances for most of the Class Period ap-

pears to have been a paper notebook maintained by Devasini, which he discarded shortly after the

litigation was filed.

          203.    Bitfinex’s shocking lack of record keeping meant that it did not know if it had suf-

ficient net U.S. dollars on hand to back the USDT being distributed into the market.

          204.    The evidence strongly indicates Bitfinex could not pay U.S. dollars for all the

USDT that it received from Tether in 2017. iFinex, the corporate entity responsible for operating

the Bitfinex exchange, 94 had total revenues of $333.5 million in 2017, 95 less than the $382 million

that Bitfinex promised to pay Tether for USDT between April and September of that year. And



94
  Dkt. 403 at 1 (“It is iFinex that engages all of the personnel who operate the Bitfinex exchange and
perform all related functions (e.g., compliance and customer service). BFXNA and BFXWW do not have
any separate directors, officers or other personnel.”).
95
     Initial Exchange Offering of LEO Tokens, bitfinex.com (May 8, 2019), https://perma.cc/LC7EHY62.


                                                   53
           Case 1:19-cv-09236-KPF       Document 557         Filed 07/12/24      Page 54 of 118




Bitfinex ultimately paid for these receivables with funds in a Noble bank account that contained

customer funds, strongly indicating that Bitfinex did not have sufficient net U.S. dollars of its own

to cover those issuances.

            205.   Tether did not account for the risk of nonpayment when counting receivables from

Bitfinex as part of its reserves. Had it done so, the receivable would have been less than the full

value of the USDT that Tether had issued to Bitfinex on credit.

                   2.     2018-19: Tether Issues More USDT to Bitfinex In Exchange For IOUs
                          and Loans Bitfinex its U.S. Dollar Reserves

            206.   Defendants’ debasement of USDT was not limited to issuing USDT to Bitfinex in

exchange for an IOU. Tether also loaned Bitfinex U.S. dollars in its reserves in exchange for funds

seized by authorities that Defendants knew that Tether could not access.

            207.   This came to a head in 2018, as Defendants ran into trouble with one of their finan-

cial partners, Crypto Capital.

            208.   Bitfinex and Tether partnered with Crypto Capital, a Panamanian entity, in 2014

and throughout the Class Period and relied heavily on it for day-to-day business operations.

            209.   In 2019, Crypto Capital principals were indicted for bank fraud, 96 and one of the

principals pled guilty in 2022. 97 The other principals of Crypto Capital, including Oz Yosef (“Oz”),

remain at large. 98




96
     ECF No. 7, United States v. Fowler, No. 19-CR-254 (S.D.N.Y. April 30, 2019) (“Fowler Indictment”).
97
  Former Co-Owner of Vikings Pleads Guilty To Providing Shadow Banking Services Tp Cryptocurrency
Exchanges, U.S. ATTORNEY’S OFFICE, SOUTHERN DISTRICT OF NEW YORK (Apr. 25, 2022),
https://www.justice.gov/usao-sdny/pr/former-co-owner-vikings-pleads-guilty-providing-shadow-banking-
services-cryptocurrency#_ftn1
98
     Id.


                                                    54
     Case 1:19-cv-09236-KPF           Document 557         Filed 07/12/24      Page 55 of 118




       210.    Crypto Capital was a “shadow bank” that facilitated the exchange of fiat currencies

for cryptocommodities. 99 Bitfinex used Crypto Capital to hold funds and process payments to and

from its clients. Bitfinex did not know what institutions held the funds it deposited, or the funds it

directed its customers to deposit, with Crypto Capital.

       211.    Bitfinex and Tether relied on Crypto Capital despite their executives’ serious con-

cerns about their ability to withdraw funds held there.

       212.    On June 3, 2015, Velde wrote Devasini and Potter that they could use an account

at Crypto Capital to receive a wire but “its [sic] not a proper bank, so not so hot to work on large

amounts through them.”

       213.    In April of 2016, Devasini wrote “I can’t deny I’m getting pretty nervous about

Oz[] and the way he handles our business[.]”

       214.    In November of 2016, Devasini wrote to a Bitfinex shareholder: “if you plan to use

[Crypto Capital], I suggest you to flip your money between platforms quickly . . . business model

is poor, they make no money, which is scary to me.”

       215.    In November of 2016, Devasini wrote to Potter Crypto Capital “is a ticking bomb

in my opinion . . . Oz is clearly lying to us.” Potter replied: “need to get balance to zero.”

       216.    On June 8, 2017, Potter wrote to Devasini that he was hearing “bad things” about

Crypto Capital including that they were day trading using customer funds. Potter added “we cannot

have a balance with them at June 30th.”




99
  Danny Nelson, Prosecutors Detail ‘Shadow Bank’ Accounts in Fowler Crypto Case, Coindesk, (Aug
27, 2020), https://www.coindesk.com/markets/2020/08/27/prosecutors-detail-shadow-bank-accounts-in-
fowler-crypto-case/.


                                                  55
        Case 1:19-cv-09236-KPF          Document 557         Filed 07/12/24       Page 56 of 118




            217.   Despite serious red flags, Defendants continued to place funds with Crypto Capital.

In October of 2017, Devasini wrote to another employee of Bitfinex, “CC is a ticking bomb, but it

is also our best banking solution so we can’t avoid exposure.”

            218.   By early 2018, Crypto Capital purportedly controlled over $1 billion of commin-

gled customer and corporate Bitfinex funds, even though Crypto Capital and Bitfinex had not had

a single written agreement over their four-year business partnership. 100

            219.   In January 2018, Devasini wrote: “we have our ass wide open with CC anyways.”

            220.   By the middle of February of 2018, Devasini wrote to Crypto Capital asking them

to process wires, describing “the situation” as “becoming unbearable” and reporting that a cus-

tomer had reported Bitfinex to the authorities.

            221.   On April 6, 2018, one week after several individuals with ties to Crypto Capital

were indicted for money laundering and prostitution in the United States, Polish law enforcement

seized $375 million USD worth of Polish zloty from multiple Crypto Capital accounts, including

Crypto SP. Z.O.O—the Bitfinex shadow account in which it instructed customers to deposit fiat.101

            222.   The seizure of funds at Crypto Capital were linked to Bitfinex in press articles on

April 7, 2018. 102 Those reports reflected that Crypto Capital funds had been seized from a Polish

bank for ties to drug cartel operations from an account affiliated with Bitfinex. 103 Bitfinex




100
      Whitehurst Aff. ¶¶ 58-59.
101
   Samuel Haig, Bitfinex Cries Fraud as Crypto Capital Executive Indicted by US, Cointelegraph (Oct.
30, 2019), https://cointelegraph.com/news/bitfinex-cries-fraud-as-crypto-capital-executive-indicted-by-us.
102
   Marie Huillet, Unconfirmed: Polish Prosecutors Seize €400 mln Amid Allegations Bitfinex Is
Implicated In Fraud, Cointelegraph (Apr. 7, 2018), https://cointelegraph.com/news/unconfirmed-polish-
prosecutors-seize-400-mln-amid-allegations-bitfinex-is-implicated-in-fraud.
103
      Id.


                                                   56
     Case 1:19-cv-09236-KPF           Document 557           Filed 07/12/24    Page 57 of 118




executives were aware of these reports. That same day, Velde wrote to Devasini “hope the polish

mess will not blow up in our face, I mean . . is every bank that runs into shit now a “bitfinex bank”?

          223.   By July of 2018, Devasini also knew that funds held by Crypto Capital in Portugal

had also been seized.

          224.   On July 30, 2018, Devasini wrote to Oz of Crypto Capital that they needed to lower

their balance at Crypto Capital in the amount by $200 million. He described it as a temporary

measure and noted that “if the market starts going up more the inflows will grow again and we’ll

start being ‘cash flow’ positive again[.]”

          225.   In August of 2018, by its own admission Bitfinex was facing a liquidity crisis. On

August 1, 2018, Devasini said to Oz that Bitfinex “need[s] to move 200M out of CC to solve this

temporary liquidity crisis[.]”

          226.   By August of 2018, Bitfinex indisputably knew that funds held by Crypto Capital

had been seized, including its customer deposits. Bitfinex nevertheless continued to use Crypto

Capital and directed its customers to utilize Crypto Capital to fund their accounts.

          227.   On August 15, 2018, Devasini wrote to Oz that “we are seeing massive withdrawals

and we are not able to face them anymore unless we can transfer some money out of Cryptocapi-

tal[.]”

          228.   On August 21, 2018, Tether began issuing large amounts of USDT to Bitfinex in

exchange for receivables. In August and September 2018, Tether issued 300 million USDT in

exchange for receivables, receiving no U.S. Dollars in exchange. These receivables posed the same

problems as the receivables issued in 2017—they violated Tether’s promise of one-to-one U.S.

dollar backing and did not reflect true counterparty risk.




                                                 57
      Case 1:19-cv-09236-KPF          Document 557         Filed 07/12/24     Page 58 of 118




        229.    These 2018 receivables were even more problematic than the 2017 receivables,

however, because they consisted of funds purportedly held by Crypto Capital on behalf of Bitfinex,

which its executives knew were inaccessible.

        230.    On August 27, 2018, Defendants arranged for Tether to loan $100 million of its

U.S. dollar reserves to Bitfinex.

        231.    By the beginning of October 2018, Crypto Capital had not processed any payments

for Tether or Bitfinex in over a month. On October 3, 2018, Devasini wrote to Oz that the “situation

is getting unbearable.”

        232.    Despite this, on October 7, 2018, Bitfinex issued a statement entitled “A Response

to Recent Online Rumours” in which it assured customers that it was “not insolvent” and that “both

fiat and cryptocurrency withdrawals are functioning as normal.” 104

        233.    That representation was false and misleading, as Bitfinex executives knew that

Tether had lent Bitfinex a portion of its U.S. dollar reserves and that Bitfinex could not process or

receive payments from inaccessible Crypto Capital accounts purportedly holding hundreds of mil-

lions of dollars.

        234.    In October of 2018, as concerns mounted about the ability of Bitfinex customers to

withdraw funds from the Bitfinex exchange, Bitfinex temporarily suspended fiat deposits. 105




104
   A Response to Recent Online Rumors, BITFINEX (Oct. 7, 2018)
https://blog.bitfinex.com/announcements/response-to-online-rumours/.
105
   Nikhilesh De, Bitfinex Saus Withdrawals Are Fine, But Crypto Exchange Customers Disagree,
CoinDesk (Oct. 15, 2018), https://www.coindesk.com/markets/2018/10/15/bitfinex-says-withdrawals-are-
fine-but-crypto-exchange-customers-
disagree/?_gl=1*1l3iusy*_up*MQ..*_ga*NDc5MDk0MTcwLjE2OTc2MDEwNDQ.*_ga_VM3STRYV
N8*MTY5NzYwMTA0My4xLjAuMTY5NzYwMTA0My4wLjAuMA.


                                                 58
        Case 1:19-cv-09236-KPF          Document 557        Filed 07/12/24     Page 59 of 118




            235.   On October 15, 2018, USDT began trading below its $1 peg. 106 Press articles re-

ported that “[t]here is concern about tether and whether it is truly backed by dollars.” 107

            236.   In an October 15, 2018 chat, Devasini pleaded to Crypto Capital: “I have been tell-

ing you since a while too many withdrawals waiting a long time[.] Is there any way we can get

money from you?” He said: “[a]part with cryptocapital we are running low in cash reserves, please

help.”

            237.   On October 16, 2018, Tether redeemed 250 million USDT, including 200 million

it had issued to Bitfinex in exchange for an IOU.

            238.   On October 17, 2018, Devasini wrote “Oz, I need urgently some funds either Teth-

ers or USD, we need at least 100M within the next week.”

            239.   On October 24, 2018, Tether issued an announcement, titled “Upcoming USDT

Redemption,” in which it announced that it would destroy 500 million USDT from the Tether

treasury, leaving approximately 466 million USDT for future issuances. Tether stated that its “is-

suance and redemption process is outlined in the Tether white paper,” providing a hyperlink. 108

Tether did not disclose that it counted IOUs from Bitfinex in its USDT reserves, contrary to its

white paper’s assurance that all issued USDT would be one-to-one backed by U.S. dollars.




  Ryan Browne, Major cryptocurrencies jump as the controversial dollar-pegged token tether falls,
106

CNBC (Oct. 15, 2018), https://www.cnbc.com/2018/10/15/bitcoin-other-cryptocurrencies-jump-as-
dollar-pegged-tether-falls.html.
107
      Id.
108
   Upcoming USDT Redemption, Tether (Oct. 24, 2018) https://tether.to/en/upcoming-usdt-redemption-
october-24th-2018/.


                                                   59
      Case 1:19-cv-09236-KPF           Document 557         Filed 07/12/24       Page 60 of 118




        240.    On November 1, 2018, Tether publicly announced that it had established a relation-

ship with Deltec Bank & Trust Limited (“Deltec”), headquartered in the Bahamas. 109 In reality,

Tether had established this relationship in February 2018. It represented that “USDT in the market

are fully backed by US dollars that are safely deposited in our bank accounts.” 110

        241.    The announcement linked to a document on Deltec letterhead and addressed to

Tether Limited, dated November 1, 2018, which stated:

        Dear Sirs:

        We hereby confirm that, at the close of business on October 31, 2018, the portfolio case
        value of your account with our bank was US $1,831,322, 828. 111

        242.    Tether’s website still stated that USDT was backed one-to-one by U.S. dollars, cre-

ating the impression that Deltec had confirmed that Tether had $1.8 billion U.S. dollars in its ac-

counts. In fact, Tether’s Deltec accounts included many non-dollar assets including bonds and

commercial paper—as well as receivables from Bitfinex.

        243.    Having assured the market that Tether held sufficient reserves at Deltec in an effort

to prop up the value of USDT, Defendants then promptly swapped a big chunk of those Deltec

reserves for inaccessible funds held at Crypto Capital. The next day, November 2, 2018, Tether

began lending U.S. dollars in its accounts held at Deltec—ostensibly part of its reserves for issued

USDT—to Bitfinex in exchange for funds that Bitfinex held at Crypto Capital. (Crypto Capital




109
   Tether Banking Relationship Announced, Tether (Nov. 1, 2018), https://tether.to/en/tether-banking-
relationship-announced/.
110
   Tether Banking Relationship Announced, TETHER (Nov. 1, 2018) https://tether.to/en/tether-banking-
relationship-announced/.
111
   Letter from Deltec Bank & Trust Ltd. To Tether Ltd., (Nov. 1, 2018) (available at:
https://assets.ctfassets.net/vyse88cgwfbl/RPHIloRD3eE4J5QYNRnYX/bed2f368b73776c14e067088028f
8a5c/Tether-Letter.pdf).


                                                   60
     Case 1:19-cv-09236-KPF           Document 557        Filed 07/12/24       Page 61 of 118




allowed the companies to swap the funds for purposes of their accounts with Crypto Capital, even

while the actual funds remained seized by authorities.)

       244.    In total, Tether swapped $625 million of accessible funds at Deltec for $625 million

of completely inaccessible funds at Crypto Capital.

       245.    Tether also issued $150 million USDT as part of the $625 million transaction in

exchange for another IOU from Bitfinex purportedly backed by inaccessible, seized funds purport-

edly held by Crypto Capital that Bitfinex could not access.

       246.    In January and February of 2019, Bitfinex took additional loans of Tether’s reserves

worth $25 million each.

       247.    In total, between November 2018 and February 2019, Tether loaned Bitfinex $525

million dollars and issued an additional $150 million USDT backed by an IOU from Bitfinex.

       248.    Defendants knew that the Crypto Capital funds in Tether’s reserves were inacces-

sible. In fact, they swapped these funds because the funds were inaccessible and Bitfinex needed

liquidity. Bitfinex offloaded its lack of liquidity at Crypto Capital to Tether. But Defendants never

disclosed these transfers and did not discount the value of the Crypto Capital funds in Tether’s

reserves to reflect the very real risks that the funds would remain inaccessible and that Tether could

not redeem all issued USDT at it had promised.

       249.    Defendants knew that funds held at Crypto Capital were not proper backing for

USDT. In February of 2018, in expressing his doubts about Noble, Devasini stated: “[I]nflating a

d[y]sfunctional bank account is a breach of our fiduciary duty towards ou[r] customers money.”

Devasini stated: “if the money can’t move it’s not ours.” The Tether reserves held at Crypto Cap-

ital could not move and thus were not proper reserves.




                                                 61
      Case 1:19-cv-09236-KPF           Document 557         Filed 07/12/24       Page 62 of 118




         250.   Defendants were able to make these transfers solely because Bitfinex and Tether

were under common control. The same individuals who decided to extend the loans for Tether

were precisely the same individuals who signed off for Bitfinex—Devasini and Van der Velde.

No reasonable company in Tether’s position would have agreed to exchange reserves with Deltec

for inaccessible funds with Crypto Capital seized by government authorities.

         251.   Had Defendants not controlled both Bitfinex and Tether, Tether could not have

sustained its USDT supply while simultaneously decreasing its U.S. dollar reserves; it would have

had to redeem $625 million USDT to free up the $625 million that it loaned to Bitfinex. Because

they did control both companies, however, Defendants could maintain the USDT supply along

with the fiction that Tether had sufficient U.S. dollars in its accounts to back it all.

                3.      Investigations By The New York Attorney General and the U.S.
                        Commodity Futures Trading Commission Confirm USDT Was
                        Debased

         252.   On February 23, 2021, the New York Attorney General (“NYAG”) announced a

settlement, and related findings of fact, concluding its yearslong investigation of Tether and Bit-

finex.

         253.   The NYAG announced that “Tether made false statements about the backing of the

“tether” stablecoin, and about the movement of hundreds of millions of dollars between the two

companies to cover up the truth about massive losses by Bitfinex.” 112




112
   Attorney General James Ends Virtual Currency Trading Platform Bitfinex’s Illegal Activities in New
York, N.Y. State Att’y Gen. (Feb. 23. 2021), https://ag.ny.gov/press-release/2021/attorney-general-james-
ends-virtual-currency-trading-platform-bitfinexs-illegal.


                                                   62
        Case 1:19-cv-09236-KPF          Document 557       Filed 07/12/24       Page 63 of 118




            254.   According to the NYAG, “[b]etween June 1, 2017 and September 15, 2017, Bit-

finex held approximately $382 million of Tether’s funds in a comingled account, which should

have been held by Tether as ’backing’ for tethers then in circulation but was not.” 113

            255.   On October 15, 2021, the U.S. Commodity Futures Trading Commission (“CFTC”)

announced a settlement with Bitfinex and Tether. 114

            256.   The CFTC concluded that “from at least June 1, 2016 to February 25, 2019, Tether

misrepresented to customers and the market that Tether maintained sufficient U.S. dollar reserves

to back every USDT in circulation with the ‘equivalent amount of corresponding fiat currency’

held by Tether and ‘safely deposited’ in Tether’s bank accounts.” 115

            257.   The CFTC continued: “In fact Tether reserves were not ‘fully-backed’ the majority

of the time,” and “Tether failed to disclose that it included unsecured receivables and non-fiat

assets in its reserves, and that Tether falsely represented that it would undergo routine, professional

audits to demonstrate that it maintained ‘100% reserves at all times’ even though Tether reserves

were not audited.” 116




113
   Settlement Agreement, N.Y. State Att’y Gen. (Feb. 17, 2021),
https://ag.ny.gov/sites/default/files/2021.02.17_-_settlement_agreement_-_execution_version.b-t_signed-
c2_oag_signed.pdf
114
   Release Number 8450-21, CFTC (Oct. 15, 2021),
https://www.cftc.gov/PressRoom/PressReleases/8450-21
115
      Id.
116
      Id.


                                                  63
     Case 1:19-cv-09236-KPF            Document 557        Filed 07/12/24    Page 64 of 118




        D.      The Anonymous Trader’s Bot Traded Vast Amounts of Debased USDT for
                Cryptocommodities

        258.    Defendants understood that, for USDT to be successful, the stablecoin needed to

become useful to the crypto community. Potter said: “[I]n order for USDT to be useful, people

need[ed] to be willing to accept it in lieu of dollars.”

        259.    In late 2015, Poloniex became the first crypto-exchange other than Bitfinex to in-

tegrate USDT onto its platform. According to Potter, “that’s when the magic started happening:

People started doing cross-exchange arbitrage with Tether[.]”

        260.    In cross-exchange arbitrage, a trader buys an asset on one exchange while simulta-

neously selling another unit of that same asset on a different exchange for a higher price, creating

a profit from the delta between the prices on the two exchanges.

        261.    Several crypto-traders recognized USDT’s potential for cross-exchange arbitrage

and began implementing high-volume trading strategies to capitalize on the myriad price differ-

ences between cryptocommodities across the market. Among them was the Anonymous Trader,

who developed an automated software program                                            pushing de-

based USDT into the crypto market during the Class Period.

        262.    Because each transaction involving debased USDT created an inflationary effect in

the price of the purchased asset (e.g., bitcoin), each time the Anonymous Trader’s bot executed a

transaction, the trade contributed further to the price inflation. Defendants uniquely and specifi-

cally facilitated the Anonymous Trader’s transactions.

        263.    For most of the Class Period, neither Poloniex nor Bittrex accepted fiat-based de-

posits or offered fiat-to-crypto exchanges, meaning users of those exchanges could not trade U.S.

dollars for bitcoin. Users of those U.S. based exchanges could, however, trade USDT for bitcoin.




                                                  64
     Case 1:19-cv-09236-KPF             Document 557    Filed 07/12/24   Page 65 of 118




        264.   During the Class Period, most USDT issued by Tether first went to Bitfinex and

then from Bitfinex to two other exchanges: Bittrex and Poloniex.

                                                           .

               1.            The Anonymous Trader Developed an Automated Trading Bot

        265.   The Anonymous Trader developed an automated software program (i.e., the “bot”)

to engage in cross-exchange arbitrage on Bitfinex and other exchanges. As the Anonymous Trader

testified,



                    .”



                                                                                   .



                    .

        266.   The Anonymous Trader

                    .




                               .



                                                                                        .

        267.




                         .


                                                 65
    Case 1:19-cv-09236-KPF                  Document 557        Filed 07/12/24   Page 66 of 118




                                               .




                                                                    .

        268.

                                                   .

                                                            .



                            .

                    .



                                    .

        269.

                        .

                                                                .

               2.               B/T Defendants Knew About the Anonymous Trader’s Cross-
                                Exchange Arbitrage Bot Well Before the Class Period Began.

        270.   Defendants knew that the Anonymous Trader was using an automatic “bot” to ex-

ecute    cross-exchange arbitrage strategy throughout the Class Period.

        271.   As early as March 2016, Bitfinex’s Head of Customer Support, Bjorn de Wolf,

asked Paolo Ardoino, Bitfinex’s CTO, to “greenlane[]” the Anonymous Trader’s account—a



                                                       66
      Case 1:19-cv-09236-KPF        Document 557        Filed 07/12/24     Page 67 of 118




security setting that allows a customer skip cumbersome verifications—because the Trader was

viewed as a “market maker” and “      bot require[d] instant withdrawals.” Ardoino complied with

the request and greenlaned the Trader’s account.

       272.    Devasini first became aware of the Anonymous Trader in 2015 or 2016. By January

2017, Devasini and the Anonymous Trader were exchanging direct private messages over Skype.

       273.    In one such message from January 11, 2017, Devasini asked the Anonymous Trader

how the bot was able to arbitrage between an exchange like Poloniex, which accepted USDT but

not USD, and an exchange like Kraken, which accepted USD but not USDT. The Anonymous

Trader explained that Bitfinex served as a required intermediary: “When my bot needs USDT on

Polo[niex] it transfers from [Bitfinex].” Because Bitfinex was the only exchange that offered both

USD and USDT, any USD proceeds from an arbitrage sale on Kraken needed to first be transferred

to Bitfinex, where the USD would be exchanged for USDT, before flowing back to Poloniex to

complete the arbitrage cycle. In other words, the Anonymous Trader was using USDT exactly as

Defendants intended: as a proxy for U.S. Dollars in cross-exchange arbitrage. See supra ¶¶ 258-

59.

       274.    The Anonymous Trader fully understood the intended function of USDT and, in

the same message chain, expressed desire for other crypto-exchanges, like Kraken, to adopt the

stablecoin to better allow seamless cross-exchange arbitrage with those exchanges that could not

support USD deposits. Devasini replied that Bitfinex was “working on it,” but in the meantime he

encouraged the Anonymous Trader to “keep arbing with Polo[niex]” as he acknowledged: “the

only way to arb between Polo and Kraken is by making Bitfinex profit.”




                                               67
      Case 1:19-cv-09236-KPF         Document 557         Filed 07/12/24      Page 68 of 118




                3.     The Anonymous Trader’s Bot Traded Vast Amounts of Debased
                       USDT For Cryptocommodities

       275.

              . From March 2017 to November 2018, 117 the Anonymous Trader’s bot acquired

         all USDT issued from Tether’s Treasury wallet: 118




       276.



                                                          .



117
   After November 28, 2018, Bitfinex stopped treating USD and USDT the same resulting in gaps in the
trading records prior to the official listing of USDT.
118




                                                                                 . The figure ends on
November 28, 2018, corresponding to the date on which Bitfinex separated USD and USDT balances.


                                                 68
     Case 1:19-cv-09236-KPF          Document 557        Filed 07/12/24     Page 69 of 118




        277.   The Anonymous Trader’s bot used the USDT that it withdrew from the

       on Bitfinex to the crypto exchange Poloniex. During the Class Period, the Anonymous

Trader’s bot transferred approximately                USDT from        to Poloniex to trade.

        278.   The Anonymous Trader’s bot used the USDT that it withdrew from the

      on Bitfinex to an address on the crypto exchange Bittrex. During the Class Period, the Anon-

ymous Trader’s bot transferred approximately                USDT from           to Bittrex to trade.

        279.   Between March 30, 2017, and September 9, 2018, the Anonymous Trader never

wired any fiat currency to Bitfinex or Tether.

               4.     Due To A Persistent Price Premium On Bitfinex, The Anonymous
                      Trader’s Trades Resulted In More Sales of Bitcoin On Bitfinex and
                      More Purchases of Bitcoin on Other Exchanges

        280.   During the Class Period, bitcoin consistently traded at a premium on Bitfinex com-

pared to other exchanges such as Poloniex and Bittrex despite the fact that on Bitfinex, bitcoin

trading was nominally denominated in U.S. dollars, while on Poloniex and Bittrex, bitcoin trading

was denominated in USDT.

        281.   This persistent premium is unnatural. In an unmanipulated market, prices for the

same commodity across exchanges should align. If bitcoin is trading for $10,000 on Exchange A

and for $10,010 on Exchange B, arbitrage traders will purchase bitcoin on Exchange A to be sold

on Exchange B to the point where, netting any fees, there is no price difference between Exchange

A and Exchange B. Although price fluctuation happens, price differences should rarely be one-

directional, and any price gap should be short-lived because arbitrage traders would immediately

exploit it.

        282.   During the Class Period, however, bitcoin regularly traded at a higher price on Bit-

finex than it did on Poloniex and Bittrex. For example, between March 2017 and January 2018

                                                                                Bitfinex’s bitcoin


                                                 69
      Case 1:19-cv-09236-KPF         Document 557       Filed 07/12/24      Page 70 of 118




premium over Poloniex lasted for eight months and that over Bittrex lasted for nine months. The

following chart shows the extent of Bitfinex’s premiums (over Poloniex in green; over Bittrex in

blue), measured by the USD-based price on Bitfinex and USDT-based price on Poloniex and Bit-

trex, based on monthly summaries of closing prices on the three exchanges. The chart shows that,

analyzed on a daily basis, bitcoin traded at a premium on Bitfinex relative to Bittrex on 58% of

days during the Class Period, and on 57% of days relative to Poloniex. The disproportionate num-

ber of price premium days on Bitfinex increases, as the price differential increases. For example,

there were 201 days on which the average bitcoin price differential between Bitfinex and Bittrex

was more than $25 (in either direction), and 125 such days with respect to Bitfinex and Poloniex.

On 78% of those “large premium” days for Bitfinex and Bittrex, the price of bitcoin was at a

premium on Bitfinex; and on 87% of those “large premium” days for Bitfinex and Poloniex, the

price of bitcoin was at a premium on Bitfinex. 119




119
   During the Class Period, Bitfinex only supported the BTC/USD trading pair, whereas Poloniex and
Bittrex only supported the BTC/USDT trading pair, until May 2018, when Bittrex also introduced the
BTC/USD trading pair. Between May 2018 and February 2019, the BTC-USD price on Bitfinex was also
consistently higher than the BTC-USD price on Bittrex.


                                                70
    Case 1:19-cv-09236-KPF          Document 557        Filed 07/12/24      Page 71 of 118




       283.    The Anonymous Trader’s bot captured much of this premium.

       284.    The bot traded based on cryptocurrencies’ price differentials across exchanges,

                                                                                          . Given

the persistent bitcoin price premium on Bitfinex, the bot purchased many more bitcoin on other

exchanges and sold many more bitcoin on Bitfinex than the other way around.

       285.    At the same time, although Bitfinex did not support the BTC/USDT trading pair

during the Class Period, it allowed customers to deposit USDT to their Bitfinex accounts, which

it would credit as US dollars in their accounts. Bitfinex then allowed customers to withdraw it as

either US dollars or as USDT. During the Class Period, the Anonymous Trader’s bot sold bitcoin

on Bitfinex for U.S. dollars, withdrew those dollars as USDT from Bitfinex and used that USDT

to purchase bitcoin on other exchanges. As a result, on a net basis, bitcoin flowed from other

exchanges to Bitfinex, and USDT flowed from Bitfinex to other exchanges.

       286.    This chart shows the daily percentage premium that the Anonymous Trader’s bot

earned during the Class Period by buying bitcoin on Bittrex for USDT and selling it on Bitfinex



                                               71
      Case 1:19-cv-09236-KPF         Document 557         Filed 07/12/24        Page 72 of 118




for US dollars, with the daily percentage premium in blue, and the gross BTC purchase volume on

Bittrex in green 120:




         287.   While the daily measure was occasionally negative (i.e., at times, the average daily

price of bitcoin was lower on Bitfinex than on Bittrex), the overall trend during the Class Period—

illustrated by the 30-day moving average—shows that the Anonymous Trader’s bot captured the

consistent premium on Bitfinex versus Bittrex by purchasing bitcoin on Bittrex (with USDT that

had been transferred from Bitfinex to Bittrex) to sell at a higher U.S. dollar (or effectively, USDT)

price on Bitfinex. Throughout the Class Period, the Anonymous Trader’s bot purchased on net

(purchases minus sales) approximately                 worth of bitcoin on Bittrex to be sold on Bit-

finex.

         288.   This chart shows the daily percentage premium that the Anonymous Trader’s bot

earned during the Class Period by buying bitcoin on Poloniex for USDT and selling it on Bitfinex




120



                                                                            .


                                                 72
       Case 1:19-cv-09236-KPF        Document 557         Filed 07/12/24        Page 73 of 118




for U.S. dollars, (or effectively, USDT) with the daily percentage premium in blue, and the gross

BTC purchase volume on Bittrex in green. 121




        289.   Albeit smaller and less consistent than the premium versus Bittrex, the average

daily premium captured by the Anonymous Trader’s trades was also positive on Bitfinex versus

Poloniex during the Class Period, and sufficiently persistent on an intraday basis to generate the

significant daily bitcoin purchase volumes indicated in the chart above. While the percentage price

differential on Poloniex was not as large as on Bittrex, it was still large and persistent enough for

Anonymous Trader’s bot to generate a substantial net outflow of USDT from Bitfinex. For exam-

ple,

                                                                     . Throughout the Class Period,

the Anonymous Trader’s bot purchased on net (purchases minus sales) approximately

worth of bitcoin on Poloniex to be sold on Bitfinex.


121



                                                                            .


                                                 73
     Case 1:19-cv-09236-KPF             Document 557       Filed 07/12/24     Page 74 of 118




       E.       Defendants Facilitated the Anonymous Trader’s Trading

       290.     Defendants knew what the Anonymous Trader was doing.

       291.     Defendants knew that        was using a bot to conduct cross-exchange arbitrage in-

volving USDT. They believed that the bot was efficiently designed. The Anonymous Trader told

them, often, that       was using a bot. They were aware that the bot developed by the Anonymous

Trader placed        orders per second, something no human could do manually, and that the bot could

place orders even when the Anonymous Trader                 was not online. They knew as well that

the Anonymous Trader’s bot was placing orders worth                                    , which gen-

erated substantial trading income for Bitfinex.

       292.     Defendants influenced both sides of the Anonymous Trader’s trades. Defendants

used debased USDT to facilitate the arbitrage. They provided       bot with debased USDT—allow-

ing the bot to buy bitcoin with USDT on other exchanges at artificially inflated prices. They facil-

itated a price premium for bitcoin on Bitfinex versus Poloniex and Bittrex—allowing the bot to

consistently sell bitcoin on Bitfinex at artificially inflated prices. And they helped the Anonymous

Trader’s bot perform a larger volume of total trades.

       293.     This benefitted Defendants by inflating bitcoin prices, encouraging more trades on

their Bitfinex exchange, and pushing more USDT onto other exchanges, encouraging its use as the

crypto economy’s dominant U.S. dollar-pegged stablecoin.

                1.        Defendants Gave the Anonymous Trader Vast Quantities of USDT

       294.     Defendants knew that USDT was specifically useful for arbitrage, because it al-

lowed traders to buy and sell crypto-assets on different exchanges much more quickly than they

could using U.S. dollars through traditional banking networks, in which transmission of funds

could take days. Van der Velde testified that the purpose of stablecoins like USDT it to “provide




                                                  74
     Case 1:19-cv-09236-KPF          Document 557         Filed 07/12/24     Page 75 of 118




a means for traders to arbitrage between different exchanges and overcome the limitations of banks

that do not operate 24/7.”

       295.    Bitfinex allowed customers to withdraw US dollars from their accounts as USDT

at the rate of one USDT for one dollar, even when USDT was trading below a dollar on other

exchanges or was not backed 1-to-1 by U.S. Dollars.

       296.    Defendants actively provided the Anonymous Trader with the USDT that            bot

needed to facilitate trades and buy cryptocommodities on other exchanges.

       297.    While the Anonymous Trader’s bot could automatically request USDT withdraw-

als, Bitfinex could not execute those requests unless it had sufficient USDT to honor them.

       298.    Bitfinex processed customer withdrawals of USDT from its “hot wallet.” This wal-

let was on-line and connected to the exchange’s operations. Bitfinex processed withdrawals from

its hot wallet automatically. If Bitfinex’s hot wallet did not contain sufficient USDT to cover a

withdrawal request, the request would be “stuck” until Bitfinex replenished its hot wallet’s supply

of USDT.

       299.    To add USDT to its hot wallet, Bitfinex had to either (a) transfer USDT from Bit-

finex’s “cold wallet”—an offline wallet not connected to the exchange; or (b) request that Tether

issue additional USDT to Bitfinex’s hot wallet. Neither process was automatic—both required the

approval of multiple individuals, including

                                          .

       300.    Further because the same principals controlled Bitfinex and Tether, and Tether

would issue USDT to Bitfinex in exchange for an IOU, the issuances were effectively on demand

instantaneously and unconstrained by the number of dollars in the bank or any time constraints

that should have been required to actually process fiat prior to issuance.




                                                 75
     Case 1:19-cv-09236-KPF          Document 557        Filed 07/12/24        Page 76 of 118




         301.



                                       .”

                                                                .

         302.   The Anonymous Trader had direct contact information for Bitfinex’s top executives

and would contact them multiple times a week—sometimes multiple times a day—when                bot

needed more USDT than available in the hot wallet.

         .

         303.

                                                                                                 .”

Bitfinex knew this, and its executives responded to the Anonymous Trader’s requests as quickly

as possible, at all hours of the day and night. Ardoino and Devasini created

                                                       allowing the Anonymous Trader to contact

two of Bitfinex’s highest executives “in the middle of the night” if needed.

         304.   Through the end of 2018, Bitfinex provided the Anonymous Trader’s bot with

nearly               USDT from Bitfinex’s hot wallet via the                             . One can

measure the flow of USDT in a given period either based on the gross outflows of USDT, or based

on the net flows of USDT, accounting for the USDT sent back to Bitfinex. Under either measure,

however, the Anonymous Trader bot received                          USDT issued by Tether during

the Class Period. For example, from May 23 to May 27, 2017, Tether issued 42.6 million USDT

to Bitfinex. During that same period, Bitfinex provided the bot with                USDT in with-

drawals, which accounts for       of the total transfers of USDT out of Bitfinex during those days.

Considered differently, accounting for the transfers of USDT back to Bitfinex by the bot and other




                                                76
     Case 1:19-cv-09236-KPF          Document 557         Filed 07/12/24     Page 77 of 118




traders during the same period, the Anonymous Trader’s bot accounts for          of the net transfers

of USDT from Bitfinex during this same period. During the run-up in Bitcoin prices between

March 31, 2017 and December 31, 2017, Bitfinex sent nearly                    USDT to the bot on a

gross basis; accounting for the USDT sent back to Bitfinex, Bitfinex sent the bot on net

USDT during this time period. These net USDT flows to the bot account for over             of the total

newly issued USDT on a net basis over this same time period.



                                                                                                     .

       305.    When Defendants moved USDT to Bitfinex’s hot wallet, the Anonymous Trader’s

bot would automatically withdraw USDT from Bitfinex and trade it on other crypto exchanges,

often for cryptocommodities.

       306.    The Anonymous Trader’s trades of USDT for cryptocommodities required affirm-

ative acts by Defendants. They controlled the supply of USDT. They had to provide USDT to the

Anonymous Trader via Bitfinex’s hot wallet in order for       bot to withdraw that USDT and trade

it for cryptocommodities on other exchanges. If Defendants did not transfer the USDT to Bitfinex’s

hot wallet, the trades would not have occurred. Defendants knew this.

       307.    Once Defendants transferred the USDT to Bitfinex’s hot wallet, the trades were

inevitable: The bot executed them without human intervention; no further action was required.

Defendants knew this too.

               2.      Defendants Were Aware of and Facilitated the Bitfinex Price
                       Premium

       308.    Running a cryptocurrency exchange, Defendants were closely monitoring market

conditions and were aware of the persistent bitcoin price premium on Bitfinex. They discussed the

premium internally, as well as with customers and reporters.



                                                77
     Case 1:19-cv-09236-KPF             Document 557         Filed 07/12/24    Page 78 of 118




        309.    Because Defendants understood the Anonymous Trader’s bot’s trading strategy,

they knew that, given the persistent premium, the bot would automatically withdraw USDT from

Bitfinex and trade it for bitcoin on other exchanges, sell those bitcoin on Bitfinex for U.S. dollars,

(or effectively, USDT, because of the commingling of U.S. dollars and USDT on Bitfinex), and

repeat the cycle. They thus knew that the premium would cause an outflow of debased USDT from

Bitfinex to other exchanges.

        310.    Defendants’ public explanation for the premium is untenable. They claimed that

negative media coverage of Bitfinex and Tether caused customers to panic into buying bitcoin.

Yet, as a Bloomberg reporter observed, if customers lost trust in Bitfinex and wanted to move their

trades to other exchanges, they would simply sell their holdings on Bitfinex, which would sup-

press, not increase, bitcoin prices. If customers had misgivings about USDT and wanted to ex-

change it for bitcoin, the same phenomenon should have occurred on Bittrex and Poloniex, which

accepted USDT for trading, but it did not.

        311.    Defendants caused or facilitated the premium in at least two ways.

        312.    First, Tether issued USDT to Bitfinex in exchange for IOUs during the Class Pe-

riod. The USDT issued based on IOUs signaled to the market a false demand for bitcoin and other

cryptocurrencies. If someone with $1,000 in her bank account borrows another $1,000 and buys

$2,000 worth of a commodity, the market perceives a $2,000 demand, even though the customer

tendered only $1,000 of her own money. When USDT was partially backed by receivables from

or loans to Bitfinex, it reflected USDT demand in the full amount of those receivables, without

discounting for collection or counterparty risk. When traders used this debased USDT to purchase

bitcoin on Bitfinex, it artificially inflated bitcoin prices there.




                                                    78
     Case 1:19-cv-09236-KPF           Document 557         Filed 07/12/24      Page 79 of 118




       313.     Second, Defendants allowed Bitfinex’s largest customers to trade on credit lines

and on margin backed in part by debased USDT commingled with its other assets. Defendants

themselves traded and purchased cryptocommodities on credit lines. In issuing credit lines, Bit-

finex credited assets to customers’ accounts, allowing them to trade, before receiving the funds or

crypto assets that the customers deposited. Defendants do not have full records of the amount that

they lent to their biggest customers and cannot recreate them from existing data.

       314.     The records that do exist show that these credit lines were substantial, resulting in

more liquidity being available for the exchange’s customers to purchase cryptocurrencies.

       315.     There is no documentary evidence that Bitfinex had sufficient assets of its own to

back the credit lines that it issued. Bitfinex commingled all of its customers funds and operational

funds in omnibus accounts and has no historical records showing its net assets or liabilities from

the Class Period.

       316.     Bitfinex also facilitated credit lines to traders using other customers’ coins.

       317.     Bitfinex also placed accounts that were allowed to trade on credit on “safe liquida-

tion mode” so that they would not be liquidated even when they incurred a negative balance. An

October 27, 2017 chat indicated negative equity of -$19,658,260 for one customer’s account (

               ), and of -$22,272 for an account                            to settle trades in foreign

currencies (           ). These negative balances allow traders to withdraw beyond the funds in

their own accounts, which likewise reflects lending activity by Bitfinex.

       318.     Similarly, during the Class Period, Bitfinex allowed customers to conduct peer-to-

peer margin trading, buying and selling cryptocurrencies with borrowed money. The collateral

required to open a margin trading position in bitcoin versus the U.S. dollar was 30 percent, and the




                                                   79
     Case 1:19-cv-09236-KPF           Document 557        Filed 07/12/24      Page 80 of 118




minimum required collateral to keep the position open was 15 percent. Defendants also acknowl-

edged that the margin trading feature was “popular.”

         319.   The natural economic consequence of Bitfinex’s extension of credit line and ena-

bling of margin trading was to create price premiums on Bitfinex versus other exchanges. Allowing

margin trading or trading on credit made more assets available to Bitfinex customers, creating

more demand for bitcoin on Bitfinex than on other exchanges. Bitfinex’s practice artificially cre-

ated higher prices for bitcoin on Bitfinex than other exchanges.

         320.   Defendants knew that increasing credit on the Bitfinex exchange would lead to

higher bitcoin prices. As Devasini stated in a chat with a customer with username softwind6:

“[T]hey don’t realize we wouldn’t need [USDT] if we wanted to pump [bitcoin] … I could give 1

trillion usd [credit] line on your account and then you can pump it to the moon without even touch-

ing [USDT].” Devasini also acknowledged at his deposition that issuing a substantial credit line

“that is not backed by anything of an enormous amount of money” would cause customers to “use

this fake money to buy an enormous amount of Bitcoin and, therefore, the price will increase.”

         321.   Through at least two means, Bitfinex was actively facilitating the bitcoin price pre-

mium on Bitfinex, knowing the Anonymous Trader’s bot would persistently trade this premium

using debased USDT, and that it would send the debased USDT from Bitfinex to the market at

large.

                3.     Defendants Helped the Anonymous Trader’s Bot Trade Large
                       Volumes

         322.

                           . Bitfinex offered a “greenlane” feature that allowed customers to with-

draw cryptocurrencies faster while still meeting various security standards. While Bitfinex limited




                                                 80
     Case 1:19-cv-09236-KPF                 Document 557       Filed 07/12/24       Page 81 of 118




most customers to greenlane withdrawals of assets worth $250,000,

                                    ,                                           .

        323.



                            .

                                                           .

        324.




                                                                                       . The Anonymous

Trader testified that

                        .

        325.

                .



                                        .

        326.

                                .




                                    .




                                                    81
        Case 1:19-cv-09236-KPF        Document 557       Filed 07/12/24      Page 82 of 118




          327.



                                                                        .

          328.   The Anonymous Trader also



          .”

          329.



    ,



                            .

          330.



                        .

          331.

                                                                       . As the Anonymous Trader

put it,



                                                                   .



                                                                                   .”

          332.   Bitfinex extended the Anonymous Trader credit lines for free. This allowed the bot

to trade cryptocurrencies that it did not have on the Bitfinex exchange and withdraw U.S. dollars




                                                82
     Case 1:19-cv-09236-KPF            Document 557       Filed 07/12/24      Page 83 of 118




that it did not have in the form of USDT that it could use to purchase bitcoin on other exchanges.

Even if Bitfinex’s loans to the Anonymous Trader had been fully backed, this allowed          bot to

trade larger volume of bitcoin and USDT than it otherwise would have been able to trade.

        333.    The Anonymous Trader was aware of Bitfinex’s lack of access to traditional bank-

ing in 2017. On May 15, 2017, the Anonymous Trader asked Devasini if there was “any news on

banking.” The Anonymous Trader further advised that Kraken was using banking in Japan that

“work[ed] fast, no problems.”

        334.




                          .

        335.    At one point, in 2018, Devasini wrote to the Anonymous Trader: “[C]an you please

push the [bitcoin] price above 10k again?”       responded: “Sure no problem, just issue me some

[USDT.]”

        336.    In late 2018, shortly after Bitfinex had taken a $625 million dollar loan of Tether’s

reserves to address its liquidity crisis,



                                                   .

                                                                  .”

        F.      Debased USDT Traded for Cryptocommodities Artificially Inflated
                Cryptocommodity Prices—And Defendants Knew It

        337.    As a matter of basic economics, debasing a non-fiat currency causes the price of

goods sold in that currency to rise. For example, when the Roman Empire reduced the silver




                                                 83
     Case 1:19-cv-09236-KPF           Document 557        Filed 07/12/24       Page 84 of 118




content of its coins from 100% to 5% over the course of 150 years, prices rose by approximately

1000 percent.

       338.     If a government were to debase a non-currency in secret, prices based on that cur-

rency would be artificially inflated. Were the debasement public, the market would respond by

increasing prices to account for the debasement. The amount of that increase is the artificial portion

of the price while the debasement remains hidden.

       339.     During the Class Period, there was demand for cryptocommodities priced in USDT.

That price varied based on cryptocommodity supply and on consumer demand. Defendants repre-

sented that USDT was backed one-to-one by U.S. dollars. When a market participant offered to

pay one USDT in exchange for a cryptocommodity, the market understood it to be offering the

equivalent of one U.S. dollar.

       340.     Tether secretly debased USDT by not maintaining in Tether’s bank accounts the

same number of dollars as the USDT that Tether had issued. Defendants did not publicly disclose

the amount of USDT that Tether had issued in exchange for bitcoin and not for U.S. dollars, or the

amount of the Tether receivables from Bitfinex that they counted as reserves backing USDT, or

the amount of customer loans by Bitfinex that were effectively financed with USDT, or the occa-

sions on which their records showed that Tether’s shareholder equity was negative.

       341.     Had this debasement been public, the market would have responded by reducing

the market price of transactions in USDT. For example, if Tether had issued a million USDT, but

had only $900,000 on deposit, the market would have understood an offer to pay one USDT as an

offer to pay the equivalent of 90 cents.

       342.     When market participants bought cryptocommodities with debased USDT, the

trades artificially inflated the price of those cryptocommodities. For example, if at a given moment




                                                 84
     Case 1:19-cv-09236-KPF          Document 557       Filed 07/12/24      Page 85 of 118




a hundred buyers were each bidding 10,000 USDT worth one dollar each for a single bitcoin, the

market would understand total demand to be equivalent to $1 million. If there were a hundred

sellers at that price, the market price would be 10,000 USDT per bitcoin, reflecting $10,000. If

those hundred buyers were each bidding 10,000 USDT worth 90 cents each for a single bitcoin,

however, the market would understand total demand to be equivalent to $900,000; with a hundred

sellers the market price would be 10,000 USDT per bitcoin, reflecting $9,000, not $10,000. If the

USDT’s debasement was concealed, the amount that the price would have dropped if the debase-

ment had been revealed—in this example, $1,000—would be artificial.

       343.    In this way, Defendants controlled cryptocommodity prices during the Class Pe-

riod. Knowing of the Anonymous Trader’s cross-exchange arbitrage, they provided the bot vast

quantities of USDT that they knew was debased, enabling the bot to perform more trades more

often with                                          . The bot’s trades with debased USDT inflated

cryptcocommodity prices, causing market participants to pay prices for cryptocommodities that

did not reflect ordinary market conditions.

               1.     Debased USDT funded Massive Crypto-Asset Purchases on Bittrex
                      and Poloniex

       344.    Defendants pushed USDT to the Anonymous Trader’s bot, which automatically

sent that USDT to wallet address on Bittrex and Poloniex to purchase bitcoin and other cryptocur-

rencies. The bot sent these cryptocommodities back to Bitfinex to be sold and to repeat the cycle.




                                               85
Case 1:19-cv-09236-KPF   Document 557   Filed 07/12/24   Page 86 of 118




                                 86
Case 1:19-cv-09236-KPF   Document 557   Filed 07/12/24   Page 87 of 118




                                 87
Case 1:19-cv-09236-KPF   Document 557   Filed 07/12/24   Page 88 of 118




                                 88
Case 1:19-cv-09236-KPF   Document 557   Filed 07/12/24   Page 89 of 118




                                 89
Case 1:19-cv-09236-KPF   Document 557   Filed 07/12/24   Page 90 of 118




                                 90
Case 1:19-cv-09236-KPF   Document 557   Filed 07/12/24   Page 91 of 118




                                 91
     Case 1:19-cv-09236-KPF            Document 557         Filed 07/12/24      Page 92 of 118




       352.    The impact on the price of Bitcoin of the                                       transac-

tions involving debased USDT through the bot on Bitfinex, Bittrex, and Poloniex is evident in the

following figure:




       353.    Since the bot was programmed to trade on the basis of arbitrage opportunities, i.e.

differences in prices between exchanges, and not on the basis of overall market prices, the increase

in bitcoin prices does not explain the bot’s increased trade count. Regardless of whether two ex-

changes listed bitcoin as $100 and $101 respectively, or $1000 and $1001 respectively, the ex-

pected profit on the trade is still $1. There is thus no reason that an increase in bitcoin prices would

cause an increase in the bot’s trade count. It was rather Defendants ever-flowing supply of debased

USDT to the Anonymous Trader’s bot, combined with Defendants commingling of USDT and

U.S. dollars on Bitfinex, that caused the bot to execute an enormous increase in the number of its


                                                  92
    Case 1:19-cv-09236-KPF         Document 557       Filed 07/12/24     Page 93 of 118




transactions, which in tun led to increased bitcoin and other cryptocommodity prices across the

crypto ecosystem.




                                              93
Case 1:19-cv-09236-KPF   Document 557   Filed 07/12/24   Page 94 of 118




                                 94
Case 1:19-cv-09236-KPF   Document 557   Filed 07/12/24   Page 95 of 118




                                 95
Case 1:19-cv-09236-KPF   Document 557   Filed 07/12/24   Page 96 of 118




                                 96
Case 1:19-cv-09236-KPF   Document 557   Filed 07/12/24   Page 97 of 118




                                 97
Case 1:19-cv-09236-KPF   Document 557   Filed 07/12/24   Page 98 of 118




                                 98
     Case 1:19-cv-09236-KPF            Document 557         Filed 07/12/24      Page 99 of 118




        361.

                                                       .




        362.    Expert analysis confirms that during the Class Period, the daily returns for bitcoin

were highly correlated with the daily returns for other major cryptocommodities, such as ethereum

(ETH) and litecoin (LTC). These correlations are reflected in both U.S. dollar denominated and

USDT denominated trading pairs. The high correlation in the returns for bitcoin and other crypto-

assets indicates that the prices of these other crypto-assets tend to rise and fall with bitcoin prices.




                                                  99
    Case 1:19-cv-09236-KPF          Document 557       Filed 07/12/24     Page 100 of 118




       363.    Defendants could have prevented this inflation. Because they controlled the USDT

supply, they could have refrained from issuing USDT unless it was fully backed by U.S. dollars in

Tether bank accounts. Because they controlled the Bitfinex exchange, they could have prevented

customers from withdrawing funds as USDT. Or, having decided to allow USDT withdrawals,

they could have refused to let customers withdraw funds as USDT from Bitfinex unless Tether’s

bank accounts held one U.S. dollar for each issued USDT in circulation. Any of these actions

would have ensured that the Anonymous Trader’s trades did not artificially inflate cryptocommod-

ity prices. Defendants did none of those things.

       364.    Defendants knew that trades with debased USDT would inflate cryptocommodity

prices. They knew that those prices were linked to the market price of USDT—and that revealing

the debased nature of USDT would cause cryptocommodity prices to fall.

       365.    On October 15, 2018, Devasini, going by the name “Merlin,” had the following

exchange with Oz Yosef from Crypto Capital, going by the handle “CCC”:

               Merlin
               Hey Oz, sorry to bother you every day, is there any way to move at
               least 100M to [redacted]? We are seeing massive withdrawals and
               we are not able to face them anymore unless we can transfer some
               money out of Cryptocapital

               …

               CCC
               I know. We are following the banks we post as many as we can
               and let them process as much as possible according to them. Eve-
               rytime [sic] we push them they push back with account closure
               without reason
               Merlin
               dozens of people are now waiting for a withdrawal out of crypto-
               capital

               …




                                               100
       Case 1:19-cv-09236-KPF             Document 557         Filed 07/12/24   Page 101 of 118




                   Merlin
                   I need to provide customers with precise answer at this point, can’t
                   just kick the can a little more
                   Merlin
                   the international I mean
                   CCC
                   I will keep you posted here
                   CCC
                   On the process of all international payments.
                   Merlin
                   please understand all this could be extremely dangerous for every-
                   body, the entire crypto community
                   Merlin
                   BTC could tank to below 1k if we don’t act quickly[122]

           366.    Defendants knew that if they could not process USDT redemptions, the market

would realize USDT was not fully backed and the price of bitcoin “could tank to below 1k,” which

would harm “the entire crypto community.”

           367.    The price inflation caused by Defendants’ scheme persisted throughout the Class

Period. When USDT was debased, Class members who purchased cryptocommodities at inflated

prices were injured. When USDT was not debased, Class members who had earlier purchased

cryptocommodities at inflated prices still bore the injury of having previously overpaid. Class

members who sold cryptocommodities at prices reflecting less inflation than the prices at which

they bought were injured by the amount of the difference.




122
      Whitehurst Aff. ¶¶ 63, 67; see also Whitehurst Aff., Ex. E.


                                                      101
Case 1:19-cv-09236-KPF   Document 557   Filed 07/12/24   Page 102 of 118




                                 102
Case 1:19-cv-09236-KPF   Document 557   Filed 07/12/24   Page 103 of 118




                                 103
Case 1:19-cv-09236-KPF   Document 557   Filed 07/12/24   Page 104 of 118




                                 104
     Case 1:19-cv-09236-KPF          Document 557       Filed 07/12/24      Page 105 of 118




         G.     Defendants Profited from Their Scheme

         386.   Defendants had both long- and short-term incentives in facilitating the Anonymous

Trader’s arbitrage trading. Short-term, Defendants sought to ride in     bot’s inflationary wake—

as    pushed more and more debased USDT into the market, the price of cryptocommodities,

especially bitcoin, rose.

         387.   During the Class Period, Defendants personally held crypto commodities and also

held a significant amount of cryptocommodities in Bitfinex-controlled accounts, including com-

missions customers paid in the form of cryptocommodities and collateral and/or margin positions

that Bitfinex inherited from customers’ accounts. Bitfinex and Tether executives were also actively

trading, including on Bitfinex, and encouraged employees to trade on Bitfinex instead of else-

where.

         388.   During the Class Period, Defendants also held substantial long positions in crypto-

commodities, including bitcoin, through both their own accounts and Bitfinex-controlled accounts.




                                                105
       Case 1:19-cv-09236-KPF             Document 557          Filed 07/12/24      Page 106 of 118




Expert analysis reflects that                account on Bitfinex, for example, has maintained a positive

balance of bitcoin since 2015.         also accumulated significant holdings of ethereum, and ethereum

classic. At one point, these positions accumulated to an amount of

         of dollars. Defendants thus were incentivized to drive up cryptocommodity prices and they

generally profited from the inflation in those prices.

           389.    Long-term, Defendants had their sights set on establishing USDT as the pre-emi-

nent stablecoin and an unassailable pillar of the crypto-trading community. They succeeded, but

only at the expense of the Class.

           390.    In the early days of Tether, USDT topped out at around one million total in circu-

lation. By the end of 2016 and the beginning of 2017 that figure rose to five million. By the end

of 2017—the middle of the Class Period—there were 1.4 billion USDT in circulation. Today, that

figure is closer to 83 billion. 137

           391.    Defendants achieved what they set out to do—establish the crypto-world’s most

dominant stablecoin. They have outgrown the need to support individual, high-volume traders like

the Anonymous Trader; the larger crypto community trades in USDT, which is now accepted on

117 different crypto-exchanges. 138 Defendants can now park their USDT reserves in treasury

bonds, CDs, and similar instruments—having changed their disclosures to reflect this—and make

billions in interest each year.

           392.    Defendants’ success was not possible without their facilitation of the Anonymous

Trader’s bot during the Class Period. Defendants knew this. They fed it debased USDT, artificially

driving up cryptocommodity prices and harming the Class.



137
      Blockworks, https://blockworks.co/price/usdt (last visited Oct. 23, 2023).
138
      Coincodex, https://coincodex.com/crypto/tether/exchanges/ (last visited Oct. 23, 2023).


                                                      106
     Case 1:19-cv-09236-KPF           Document 557         Filed 07/12/24      Page 107 of 118




       393.      This lawsuit seeks to hold Defendants accountable.

V.     Class Allegations

       394.      Plaintiffs bring this action on behalf of themselves and, under Rules 23(a), (b), and

(c)(4) of the Federal Rules of Civil Procedure, on behalf of a class (the “Class”) defined as follows:

                 All persons or entities that purchased or otherwise acquired crypto-
                 commodities (including bitcoin, bitcoin cash, ethereum, ethereum
                 classic, litecoin, monero, dash and ZCash) or cryptocommodity Fu-
                 tures, in the United States or its territories at any time from March
                 31, 2017 through February 25, 2019 and were injured thereby.

       395.      Plaintiffs also seek to represent a subclass (the “Cryptocommodity Futures Sub-

class”) defined as follows:

                 All persons or entities that purchased or otherwise acquired Crypto-
                 commodity Futures in the United States or its territories at any time
                 from March 31, 2017, through February 25, 2019 and were injured
                 thereby.

       396.      The Class excludes any person or entity whose purchases of cryptocommodities or

cryptocommodity futures were exclusively through Bitfinex. Also excluded from the Class are

Defendants and their officers, directors, management, employees, subsidiaries, or affiliates, as well

as the Anonymous Trader. Also excluded is the Judge presiding over this action, his or her law

clerks, spouse, and any person within the third degree of relationship living in the Judge’s house-

hold and the spouse of such a person.

       397.      Plaintiffs reserve the right to amend the definitions of the Class if further investi-

gation and/or discovery indicate that the Class definition should be narrowed, expanded, or other-

wise modified.

       398.      The members of the Class are so numerous that joinder of all members is impracti-

cable. The precise number of members of the Class is unknown to Plaintiffs at this time, but it is

believed to be in the tens of thousands.



                                                  107
    Case 1:19-cv-09236-KPF           Document 557        Filed 07/12/24     Page 108 of 118




       399.    The members of the Class are readily ascertainable and identifiable. They may be

identified by publicly accessible blockchain ledger information. They may be notified of the pen-

dency of this action by electronic mail using a form of notice customarily used in class actions.

       400.    Defendants have acted on grounds that apply generally to the Class, so that final

injunctive relief is appropriate respecting the Class as a whole.

       401.    Common questions of law and fact exist as to all members of the Class and pre-

dominate over any questions solely affecting individual members of the Class, including:

               a.      Whether Tether’s issuance of USDT was “one-to-one” backed with U.S.
                       dollars;

               b.      Whether Defendants were a cause of the Anonymous Trader’s trades of
                       USDT for cryptocommodities by providing         with the debased USDT
                       that  bot used to automatically conduct those trades;

               c.      Whether those trades artificially increased the price of cryptocommodities;

               d.      Whether Defendants violated Sections 6(c)(3), 9(a) and 22 of the CEA;

               e.      Whether Defendants’ manipulated bitcoin and injected artificial prices into
                       Bitcoin futures that traded on the CME and Cboe;

               f.      Whether Defendants had monopoly power in the market for cryptocom-
                       modities;

               g.      Whether Defendants monopolized the market for cryptocommodities for
                       purposes of the Sherman Act, 15 U.S.C. § 2;

               h.      Whether Defendants and the Anonymous Trader conspired to manipulate
                       cryptocommodity prices in violation of Sections 1 and 3 of the Sherman
                       Act, 15 U.S.C. §§ 1, 3;

               i.      In the alternative, whether Defendants conspired to manipulate cryptocom-
                       modity prices in violation of Sections 1 and 3 of the Sherman Act, 15 U.S.C.
                       §§ 1, 3;

               j.      Whether the Class suffered injury due to Defendant’s violations of the CEA
                       and the Sherman Act;

               k.      The appropriate class-wide measure of relief for the Defendants’ violations
                       of the CEA and the Sherman Act;



                                                108
    Case 1:19-cv-09236-KPF            Document 557         Filed 07/12/24       Page 109 of 118




        402.    Plaintiffs’ claims are typical of the claims of the other members of the Class they

seek to represent. Defendants’ practices have targeted and affected all members of the Class in a

similar manner, i.e., they have all sustained damages from Defendants’ practices.

        403.    Plaintiffs will continue to fully and adequately protect the interests of the members

of the Class. Plaintiffs have retained counsel competent and experienced in class actions and

crypto-asset-related litigation. Plaintiffs have no interests antagonistic to, or in conflict with, those

of the Class.

        404.    A class action is superior to all other available methods for the fair and efficient

adjudication of this controversy since joinder of all members is impracticable. The prosecution of

separate actions by individual members of the Class would impose heavy burdens upon the courts

and would create a risk of inconsistent or varying adjudications of the questions of law and fact

common to the Class. A class action, on the other hand, would achieve substantial economies of

time, effort, and expense, and would assure uniformity of decision with respect to persons similarly

situated without sacrificing procedural fairness or bringing about other undesirable results. Fur-

thermore, the interests of the members of the Class in individually controlling the prosecution of

separate actions are theoretical rather than practical. The Class has a high degree of cohesion, and

prosecution of the action through representatives would be unobjectionable. Finally, as the dam-

ages suffered by some of the individual members of the Class may be relatively small, the expense

and burden of individual litigation makes it impossible for members of the Class to individually

redress the wrongs done to them.

        405.    Plaintiffs anticipate no difficulty in the management of this action as a class action.

        406.    WHEREFORE, Plaintiffs request that the Court order that this action may be main-

tained as a class action pursuant to Rules 23(a), (b) and (c)(4) of the Federal Rules of Civil




                                                  109
       Case 1:19-cv-09236-KPF          Document 557        Filed 07/12/24      Page 110 of 118




Procedure, that they be named Class Representatives, that undersigned counsel be named Co-Lead

Class Counsel, and that reasonable notice of this action, as provided by Federal Rule of Civil

Procedure 23(c)(2), be given to the Class.

                                        CAUSES OF ACTION

                                    FIRST CAUSE OF ACTION

                                       Market Manipulation
                                     Commodities Exchange Act

          407.    Plaintiffs incorporate the preceding paragraphs.

          408.    Cryptocommodities are commodities within the definition of 7 U.S.C. § 1a. The

CFTC has found that “[b]itcoin and other virtual currencies are encompassed in the definition and

properly defined as commodities, and are therefore subject as a commodity to applicable provi-

sions of the [Commodity Exchange] Act and Regulations.” 139

          409.    Sections 6(c)(1) and 22 of the CEA, 7 U.S.C. §§ 9, 25, make it unlawful for any

person, directly or indirectly, to use or employ or attempt to use or employ, in connection with any

swap, or a contract of sale of any commodity in interstate commerce, or for future delivery on or

subject to the rules of any registered entity, any manipulative or deceptive device or contrivance,

in contravention of rules and regulations timely promulgated by the CFTC.

          410.    The CFTC timely promulgated Rule 180.1(a), which makes it

                  unlawful for any person, directly or indirectly, in connection with
                  any swap, or contract of sale of any commodity in interstate com-
                  merce, or contract for future delivery on or subject to the rules of
                  any registered entity, to intentionally or recklessly:

                  (1) Use or employ, or attempt to use or employ, any manipulative
                  device, scheme, or artifice to defraud;




139
      In re BFXNA Inc., CFTC No. 16-19, 2016 WL 3137612, at *5 (C.F.T.C. June 2, 2016).


                                                  110
    Case 1:19-cv-09236-KPF          Document 557         Filed 07/12/24      Page 111 of 118




               (2) Make, or attempt to make, any untrue or misleading statement of
               a material fact or to omit to state a material fact necessary in order
               to make the statements made not untrue or misleading;

               (3) Engage, or attempt to engage, in any act, practice, or course of
               business, which operates or would operate as a fraud or deceit upon
               any person; or,

               (4) Deliver or cause to be delivered, or attempt to deliver or cause
               to be delivered, for transmission through the mails or interstate com-
               merce, by any means of communication whatsoever, a false or mis-
               leading or inaccurate report concerning crop or market information
               or conditions that affect or tend to affect the price of any commodity
               in interstate commerce, knowing, or acting in reckless disregard of
               the fact that such report is false, misleading or inaccurate.

17 C.F.R. § 180.1(a).

       411.    Defendants employed a manipulative and deceptive device and scheme. Defendants

violated Rule 180.1(a), by inter alia, communicating false information about USDT being fully

backed by U.S. dollars, debasing USDT by failing to keep sufficient dollars in Tether’s accounts

to match the number of issued USDT and otherwise misrepresenting the demand for cryptocom-

modities by issuing unbacked USDT. They concealed this debasement by falsely representing to

the market that issued USDT was backed one-to-one by U.S. dollars. They actively provided vast

amounts of this debased USDT to the Anonymous Trader’s bot facilitating trades of cryptocom-

modities. Those trades artificially inflated cryptocommodity prices by sending a false signal to the

market about the level of demand for those assets, preventing true price discovery. These acts were

an illegitimate part of the supply-demand equation, prevented true price discovery, and caused

artificial pricing in the cryptocommodity market.

       412.    Defendants acted intentionally or recklessly. They knew that USDT was frequently

not backed one-to-one by dollars in Tether’s bank accounts. They knew that their representations

that USDT was fully backed were false. They knew that the Anonymous Trader used a bot to

automatically withdraw USDT from Bitfinex and trade it for cryptocommodities. And they knew


                                                111
    Case 1:19-cv-09236-KPF           Document 557        Filed 07/12/24      Page 112 of 118




that those trades would inflate cryptocommodity prices, because they knew that if USDT’s de-

basement was revealed then those prices would fall.

        413.    Defendants also engaged in price manipulation. They could inflate the price of

cryptocommodities by debasing USDT, providing it to the Anonymous Trader, and affirmatively

facilitating    trades of USDT for cryptocommodities. The Anonymous Trader’s trades of debased

USDT for cryptcommodities artificially inflated cryptocommodity prices, as they did not accu-

rately reflect market demand. Defendants’ conduct caused this artificial increase in cryptocom-

modity prices. Defendants had motive to inflate cryptocommodity prices—it inflated the value of

their cryptocommodity holding, encouraged more trades on their Bitfinex exchange, and promoted

the widespread adoption of USDT as a dollar-pegged stablecoin. They had the opportunity to do

so—they controlled issuances of USDT, they provided debased USDT to the Anonymous Trader,

and they knew      bot would automatically trade it for cryptocommodities.

        414.    Defendants displayed consciousness of their misbehavior or recklessness by being

aware of USDT’s debasement, concealing that debasement from the public, concealing links be-

tween Tether and Bitfinex, acknowledging that cryptocommodity prices were linked to the market

value of USDT, and taking efforts to maintain the illusion that USDT was backed one-to-one by

U.S. dollars.

        415.    As a direct result of Defendants’ unlawful conduct, Plaintiffs and members of the

Cryptocommodity Futures Subclass suffered actual damages and injury in fact due to artificial

prices to which they would not have been subject but for Defendants’ unlawful conduct. Plaintiffs

and members of the Cryptocommodity Futures Subclass were further legally injured and suffered

injury in fact because they transacted in futures contracts of cryptocommodities in an artificial and




                                                112
    Case 1:19-cv-09236-KPF           Document 557        Filed 07/12/24      Page 113 of 118




manipulated market operating under the artificial prices caused Defendants. That conduct caused

injury to the Plaintiffs and the Cryptocommodity Futures Subclass.

       416.     WHEREFORE, Plaintiffs pray that the Court adjudge and decree that Defendants

violated the CEA, 7 U.S.C. § 1 et seq., damaged Plaintiffs and members of the Class; and enter

joint and several judgments against Defendants in favor of Plaintiffs and members of the Crypto-

commodity Futures Subclass for the actual damages suffered, and disgorge Defendants of their ill-

gotten gains.

                                 SECOND CAUSE OF ACTION

                                      Monopolization
                                Sherman Antitrust Act Section 2

       417.     Plaintiffs incorporate the preceding paragraphs.

       418.     Defendants willfully acquired and maintained market power in the market for cryp-

tocommodities in the United States in violation of Section 2 of the Sherman Act, 15 U.S.C. § 2.

       419.     Defendants used the instrumentalities of interstate commerce, including interstate

wires, to effectuate their illegal scheme.

       420.     Defendants’ manipulation and conduct alleged herein was in U.S. import commerce

and had direct, substantial, and reasonably foreseeable effects on U.S. domestic commerce, and

such effects give rise to Plaintiffs’ claims, within the meaning of 15 U.S.C. § 6a.

       421.     Defendants have market power in the cryptocommodities market because they can

control prices of cryptocommodities. Defendants exercised this control prices by issuing large

amounts of USDT, falsely representing that the USDT was fully backed by U.S. dollar reserves,

and actively facilitating the Anonymous Trader’s automatic trading of debased USDT for crypto-

commodities.




                                                113
    Case 1:19-cv-09236-KPF           Document 557        Filed 07/12/24      Page 114 of 118




       422.    Defendants acquired and maintained this market power through anticompetitive ac-

tions, including by misrepresenting to the market that USDT was backed one-to-one by U.S. dol-

lars, concealing the relationship between Bitfinex and Tether, and providing debased USDT to the

Anonymous Trader that they knew         would automatically trade for assets including cryptocom-

modities. In mispresenting that USDT was fully backed, Defendants offered to (and sometimes

did) redeem USDT for U.S. dollars at 100 cents on the dollar, even though they knew that it was

debased to a value less than that. No rational economic actor would have done so.

       423.    There is no legitimate business justification for, or procompetitive benefits caused

by, Defendants’ anticompetitive conduct. Any ostensible procompetitive benefit was pretextual or

could have been achieved by less restrictive means.

       424.    Plaintiffs and members of the Class have been injured in their business and property

by reason of Defendants’ violation of Section 2 of the Sherman Act, 15 U.S.C. § 2, within the

meaning of Section 4 of the Clayton Act, 15 U.S.C. § 15.

       425.    Plaintiffs and members of the Class have suffered an injury that is of the type the

antitrust laws were intended to prevent and that flows from that which makes Defendants’ acts

unlawful. Defendants’ scheme to use debased USDT to purchase bitcoin and other cryptocom-

modities interfered with the natural interplay of market forces. Defendants provided debased

USDT to the Anonymous Trader, knowing           bot would automatically trade it for assets including

cryptocommodities. These actions deprived Plaintiffs and members of the Class of a competitive

marketplace. The prices at which Plaintiffs and members of the Class purchased cryptocommodi-

ties were higher than the prices that Plaintiffs would have paid absent Defendants’ scheme. This

anticompetitive conduct caused Plaintiffs and members of the Class to pay supra-competitive

prices, which is an injury of the type that the antitrust laws were intended to prevent.




                                                114
    Case 1:19-cv-09236-KPF          Document 557        Filed 07/12/24      Page 115 of 118




       426.    Defendants directly caused this injury to Plaintiffs and members of the Class. Plain-

tiffs and members of the Class are naturally motivated to enforce the antitrust laws because they

purchased cryptocommodities on exchanges during the relevant period at prices that were inflated

as a result of these Defendants’ scheme. There are no other purchasers of cryptocommodities who

were more directly injured than Plaintiffs and members of the Class.

       427.    WHEREFORE, Plaintiffs request that the Court adjudge and decree that Plaintiffs

and members of the Class have antitrust standing under the Clayton Antitrust Act, 15 U.S.C. §§ 15,

26; that Defendants violated the Sherman Antitrust Act, 15 U.S.C. § 2; enter joint and several

judgments against Defendants in favor of Plaintiffs and members of the Class; and award Plaintiffs

and members of the Class actual damages, treble damages, injunctive relief, and attorneys’ fees.

                                 THIRD CAUSE OF ACTION

                              Agreement in Restraint of Trade
                           Sherman Antitrust Act Sections 1 and 3

       428.    Plaintiffs incorporate the preceding paragraphs.

       429.    Defendants engaged in a pattern of concerted action which included, inter alia, the

issuance of unbacked USDT, the transfer of USDT and cryptocommodities across three exchanges,

facilitating the Anonymous Trader’s bot to trade debased USDT for cryptocommodities, and

providing special accommodations and access to features that increased the Bot’s ability to trade.

       430.    Defendants engaged in a number of overt acts in furtherance of this conspiracy,

including issuance of unbacked USDT, the transfer of USDT and cryptocommodities across three

exchanges, facilitating the Anonymous Trader’s bot to trade debased USDT for cryptocommodi-

ties, providing special accommodations and access to features that increased the Bot’s ability to

trade, directing trades at the Defendant’s request, closely coordinating with Defendants to ensure

constant operation and maximal efficiency of the trading bot.



                                               115
    Case 1:19-cv-09236-KPF            Document 557         Filed 07/12/24      Page 116 of 118




          431.   Defendants and the Anonymous Trader also acted with the specific intent to mo-

nopolize. Defendants, via their anticompetitive issuance of debased USDT, intended to acquire

monopoly power in the market for cryptocommodities, and the Anonymous Trader acted with the

specific intent of facilitating and conferring monopoly power on Defendants.

          432.   Defendants took these actions with the specific intent to obtain market power over

the market for cryptocommodities.

          433.   Defendants and the Anonymous Trader had a common motive to conspire to inflate

prices of cryptocommodities because they all owned cryptocommodities themselves and to further

the adoption of USDT by other players in the crypto economy, which resulted in increased profits

for both Defendants and the Anonymous Trader.

          434.   Defendants and the Anonymous Trader’s scheme and the concrete acts undertaken

in furtherance thereof directly resulted in Plaintiffs and members of the Class paying artificially

high prices for cryptocommodities during the Class Period. Plaintiffs’ injuries are of the type the

antitrust laws were designed to prevent and flow from that which makes Defendants’ conduct un-

lawful.

          435.   Plaintiffs bring this claim in the alternative, to the extent that Tether and Bitfinex

are determined separate entities for purposes of the Sherman Act.

          436.   Defendants violated 15 U.S.C. § 15 by conspiring and agreeing amongst them-

selves to manipulate cryptocommodity prices by debasing USDT and facilitating the Anonymous

Trader’s purchase of cryptocommodities, creating the false impression of significant demand for

those cryptocommodities and keeping prices artificially high. This price-fixing agreement is a per

se violation of the federal antitrust laws and is, in any event, an unreasonable and unlawful restraint

of trade without any countervailing procompetitive rationale.




                                                  116
    Case 1:19-cv-09236-KPF           Document 557         Filed 07/12/24       Page 117 of 118




       437.    Defendants’ conspiracy occurred within the flow of, and substantially affected, in-

terstate commerce, and commerce in U.S territories.

       438.    Absent Defendants’ collusion, the Anonymous Trader would not have traded large

amounts of debased USDT for cryptocommodities and the prices of those cryptocommodities

would have be determined by the natural interplay of supply and demand.

       439.    Defendants benefitted by coordinating their market activities.

       440.    Defendants’ actions are inconsistent with unilateral conduct in their rational self-

interest. In misrepresenting that USDT was backed one-for-one by U.S. dollars, Tether allowed

customers to redeem USDT at 100 cents on the dollar, even when it was not backed one-to-one by

U.S. dollars. Bitfinex allowed customers (including the Anonymous Trader) to withdraw US dol-

lars as USDT at 100 cents on the dollar, even when USDT was trading at a lower value. These

actions were contrary to their rational self-interest. The actions served to maintain the illusion that

USDT was fully backed, which was key to inflating cryptocommodity prices.

       441.    Defendants’ conduct constitutes a per se violation of the antitrust laws because the

intention of the scheme was to fix, stabilize, or otherwise maintain prices of cryptocommodities.

The risk of harm from this conduct is clear and obvious: to restrict free and unfettered price dis-

covery through competition that the Sherman Act was enacted to promote.

       442.    Defendants’ scheme and concrete acts undertaken in furtherance thereof directly

resulted in Plaintiffs and members of the Class paying artificially high prices for cryptocommodi-

ties during the Class Period. Plaintiffs’ injuries are of the type the antitrust laws were designed to

prevent and flow from that which makes Defendants’ conduct unlawful.

       443.    WHEREFORE, Plaintiffs request that the Court adjudge and decree that Defend-

ants violated Sections 1 and 3 of the Sherman Act, 15 U.S.C. §§ 1, 3; enter joint and several




                                                 117
    Case 1:19-cv-09236-KPF           Document 557        Filed 07/12/24       Page 118 of 118




judgments against these Defendants in favor of Plaintiffs and members of the Class; and award

Plaintiffs and members of the Class actual damages, treble damages, injunctive relief, interest,

reasonable expenses, and attorneys’ fees.

                      COSTS, INTEREST, AND ATTORNEYS’ FEES

       444.    Plaintiffs request that the Court award reasonable costs of suit, pre- and post-judg-

ment interest, and reasonable attorneys’ fees.

                                            JURY TRIAL

       445.    Plaintiffs demand a trial by jury for all claims.



 Dated: New York, NY                                Respectfully submitted,
        July 12, 2024

 /s/ Andrew R. Dunlap                               /s/ Todd M. Schneider
 Philippe Z. Selendy                                Todd M. Schneider (pro hac vice)
 Andrew R. Dunlap                                   Matthew S. Weiler (pro hac vice)
 Oscar Shine                                        SCHNEIDER WALLACE COTTRELL
 Laura King                                             KONECKY LLP
 SELENDY GAY PLLC                                   2000 Powell Street, Suite 1400
 1290 Sixth Avenue                                  Emeryville, CA 94608
 New York, NY 10104                                 tschneider@schneiderwallace.com
 pselendy@selendygay.com                            mweiler@schneiderwallace.com
 adunlap@selendygay.com
 oshine@selendygay.com
 lking@selendygay.com

Interim Lead Counsel and Attorneys for the Plaintiffs and the Proposed Class




                                                 118
